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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT oF ILLINOIS, EASTERN DIVISION

UNITED STA_TES oF AMERICA UEQ:; HUL_..-`;l..

v. CRIMINAL COMPLAINT

BRODERICK JONES (aka “Dink” and “Thirsty”),
COREY FLAGG (aka “Big Pun”),

§s§§:§ts’ F \ L E 9 5 CRO 070

JOSEPH WILS ON,

JAMES WALKER aka “Quia<"), _ ?UU§ mG*STRME moss m
JOEL MoNTGoMERY aka “JQJ¢JANM<JS ~
STANLEY DRWER, JR. mann w_ comm m
cream u.¢. mrmo'r 600
CASE NUMBER;

Ir the undersigned complainant being duly sworn, state the following is true and
correct to the best of my knowledge and belief. From at least July 2004 through December
2004, in Cook County, in the Northern District of Illinois, Eastern_ Division, and
elsewhere, defendants

did knowingly and intentionally conspire with each other and with
others to distribute and to possess with intent to distribute
Controlled substances, namely in excess cf 5 kilograms Of cocaine, a
Schedule II Narcotic Drug Controlled Substance,

in violation of Title 21, United States Code, Section 846 and Title 18, United States Code,

Section 2.

I further state that I am a Special Agent of the Federal Bureau of Investigation, and

that this complaint is based on thefollowing facts:

See Attached Affidavit

Continued on the attached sheet and made a pa t hereof: X Yes
B--\

Mlure uf Complainant '

Sworn to before me and subscribed in my presence,

Januarv 26 2005 at Chicago Illinois
Date City and State

Michael T. Mason, U.S. Magistrate Judge MMJ’\

Name & Title Of`Judicia} Ot`t“lccr Signaturc of Judicia| ()ff'\cer

 

 

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coiler or cooi< )
AFFIDAvir

l, Joshua Skule, being first duly sworn on oath, depose and state as follows:
I. Introduction

l. I am a Special Agent of the United States Departrnent of Justice, Federal
Bureau of lnvestigation (FBI), and have been a Special Agent of the FBI for
approximately six and Vz years. l have received specialized training in corruption matters
and narcotics and dangerous drug investigations while employed as a Special Agent. l
arn familiar with and have participated in all of the normal methods of investigations
including but not limited to visual surveillance, general questioning of Witnesses, and use
of search warrants informants, cooperating witnesses, pen registers and undercover
agents I have been personally involved in investigations of controlled substance-related
offenses involving the possession, sale, and distribution of cocaine, cocaine-base, and
heroin by individuals trafficking in narcotics in the Chicago area. Since August 2001, I
have been assigned to an FBl Public Corruption squad As a member of the FBI public
corruption squad, l have been involved in the investigation of law enforcement officers
engaged in various forms of criminal conduct including conspiracy to possess and
distribute narcotics and extortion

2. The information contained in this Affidavit is derived from my knowledge
of and prior experience in Chicago area narcotics and public corruption investigations
including those at the local, state, and federal levels; information obtained during past

interviews With numerous drug dealers and criminal informants conducted by me and

 

 

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other law enforcement officers; information obtained by me and from other investigators
experienced in narcotics and police corruption investigations; information provided by
cooperating witnesses and confidential sources; pen register and telephone record
analysis; and information contained in recorded conversations7 including conversations
intercepted pursuant to court-ordered Titie ill wiretaps As a result of my personal
participation in this investigation, my receipt of information from other federal agents
and Chicago Police Department (CPD) ofticers, including those With experience in
corruption and drug investigations, my review of information provided by confidential
sources and cooperating individuals, my review of recorded conversations, including
conversations intercepted pursuant to court-ordered Title III Wiretaps, and my review of
documents and records, including telephone records, l arn familiar with the facts and
circumstances of this investigation
3. This affidavit is also made in support of an application for warrants to
seize the following vehicles, which vehicles are the proceeds and/or instrumentalities of
narcotics offenses, and thus, are subject to forfeiture pursuant to 21 U.S.C. § 853:
a. a 2002 Cadillac Escalade, V]l\l# lGYEK63N22R124631, (lllinois
license plate number 53>99422)l (hereinafter “Jones’s Escalade”);

and

 

illiinois Secretary of State records indicate that this vehicle is registered to
Broderick l ones

 

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b. a 2000 Cadillac Escalade, VlN# 1GYEK63ROYR219586 (lllinois
license plate number 5689336)2 (hereinafter “Haynes’s
Escalade”).
4r Since this affidavit is being submitted for the limited purpose of
establishing probable cause, l have not included each and every fact known to me
concerning this investigation More specifically, l have set forth only the facts that I
believe are necessary to establish the requisite probable cause.
II. Incorporation ofAjj‘idavit in Support of Criminal Complaint
5. l have also prepared an Afiidavit in support of a Criminal Complaint for
BRODERlCK JONES (aka “Dink” and “Thirsty”), DAREK HA“YNES, and others,
charging that they did conspire with each other and with others knowingly and
intentionally to possess with the intent to distribute and to distribute controlled
substances, namely in excess of 5 kilograms cocaine, a Schedule ll Narcotics Drug
Controlled Substance, in violation of Title 21, United States Code, Section 846 and Title
18, United States Code, Section 2 (the “Jones Cornplaint Affidavit”). l hereby
incorporate the J ones Complaint Affidavit, in its entirety, into this Affidavit in support of
seizure warrants The J ones Complaint Afiidavit is attached hereto as Exhibit A.
III. Information in Support oprplicationsfor Seizure Warrams
13. As noted in several paragraphs of the Jones Complaint Affidavit, Jones’s
Escalade (see 111 28-30, 33, 37, 42-44, 59, 73, 94, 106, 143, 145, 148, 150, 169, 187, and
219) and Haynes’s Escalade (see ‘||1| 161, 163, 195, 200, 207, 213, and 219) were used to

facilitate the drug conspiracy charged in the Jones Complaint Affidavit. ln that regard,

 

2lllinois Secretary of State records indicate that this vehicle is registered to Icy
Carter.

 

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these vehicles were the proceeds of_, and/or were used and intended to be used, in any
manner or part, to commit or to facilitate the commission of controlled substance
offenses under 21 U.S.C. §§ 84l(a)(l) and 846. Accordingly, there is probable cause to
believe that these two vehicles are subject to forfeiture pursuant to the provisions of Title
21, United States Code, Section 853.

14. In order to ensure the availability of the vehicles is preserved for
forfeiture, Title 2l, United States Code, Section 853(€) authorizes the entry of a
restraining order or any other action necessary to preserve the property Titlc 21, United
States Code, Section 853(f_) states, in the same manner as provided for a search warrant, a
seizure warrant may be issued when the property Would, in the event of conviction, be
subject to forfeiture and a restraining order may not be sufficient to assure the availability
of the property for forfeiture The government seeks a seizure warrant under § 853(1`)
because a restraining order or any other action is not sufficient to assure the availability
of the subject vehicles for forfeiture Courts have long recognized that the unique
circumstances involved in searching vehicles due to their inherent mobility. Moreover,
in Florida v. th're, 526 U.S. 559 (1999), the Supreme Court found that a warrantless
seizure did not violate the Fourth Amendment where there was probable cause to believe
that the automobile was subject to forfeiture because movable contraband may be
“spirited away.”

15. ln my experience, l know that motor vehicles are easily transferred or hidden
thereby making them difficult to locate. Moreover, l am aware that the appearance of a
motor vehicle can be altered or it can be concealed in a garage or storage area making it

difficult if not impossible, to find for the purpose of forfeiture proceedings

 

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Additionally, motor vehicles can be transported outside the district further increasing the
potential unavailability of these motor vehicles for forfeiture in the event of conviction
Furthermore, l know that unless a motor vehicle is seized, it can be difficult to preserve
the value of the motor vehicle for forfeiture purposes because financial obligations
relating to the vehicle, including insurance payments and loan obligations are not
satisfied, when an owner is notified that it is likely his property will be subject to

forfeiture

 

Joshua Skule, Special Agent
cheral Bureau of Investigation

Swom to and subscribed before
me this 26th day of January, 2005

 

l\/lichael T. Mason
United States Magistratc Judge
Northern District of lllinois

 

 

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UNlTED STATES )
NORTHERN DlSTRlCT OF ILLINOIS §
AFFIDAVIT

l, Joshua Skule, Speeial Agent of the Federal Bureau of investigation (FBI), United
States Department of Justice, having been duly sworn, state:
I. INTRoDuCTioN

l. l am a Special Agent of the United States Department of lustice, Federal Bureau
of Investigation (FBI), and have been a Special Agent of the FBl for approximately seven years
l have received specialized training in corruption matters and narcotics and dangerous drug
investigations while employed as a Special Agent. l am familiar with and have participated in all
of the normal methods of investigations including but not limited to visual suiveillance, general
questioning of witnesses and use of search warrants infonnants, cooperating witnesses pen
registers undercover agents consensual recordings and Title lll wiretaps l have been
personally involved in investigations of controlled substance-related offenses involving the
possession, sale, and distribution of eocaine, cocaine-base, and heroin by individuals trafficking
in narcotics in the Chicago area. Since August 2001, l have been assigned to an FBI Public
Corruption squad. As a member of the FBI public corruption squad, l have been involved in the
investigation of law enforcement officers engaged in various forms of criminal conduct,
including conspiracy to possess and distribute narcotics and extortion

2. Tlie information contained in this Affidavit is derived from my knowledge of and
prior experience in Chicago area narcotics and public corruption investigations including those at
the local, state, and federal levels information obtained during past interviews with numerous

drug dealers and criminal informants conducted by me and other law enforcement officers

 

 

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information obtained by me and from other investigators experienced in narcotics and police
corruption investigations information provided by cooperating witnesses and confidential
sources pen register and telephone record analysis and information contained in recorded
conversations including conversations intercepted pursuant to court-ordered Title lll wiretaps
As a result of my personal participation in this investigation, my receipt of in formation from
other federal agents and Chicago Police Department (CPD) officers including those with
experience in corruption and drug investigations my review of information provided by
confidential sources and cooperating individuals my review of recorded conversations including
conversations intercepted pursuant to court-ordered 'fitle Ill wiretaps and my review of
documents and records including telephone records l arn familiar with the facts and
circumstances of this investigation

3. This joint investigation by the FBl and the lnternal Affairs Division (lAD) of the
Chicago Police Department (CPD) addresses allegations that CPD officers are involved in
criminal activity, including drugl trafficking, robbery, and extortion, on the south side of
Chicago.

4. During the course of this investigation, other law enforcement officers and l have
utilized various investigative techniques including, among other things interviewing witnesses
conducting physical surveillance, and recording and listening to eonsensually-monitored
conversations and conversations intercepted pursuant to court-authorized Title lll wiretaps

Specifically, from luly through December 2004, the FBI obtained authority from the Chief Judge

 

lThe terms “drug” and “illegal drug” are used in this Afiidavit as general references to
controlled substances such as cocaine and marijuana

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in this district to intercept conversations over telephones being used by JOSEPH WlLSON
(“Wilson Telephone”), BRODERICK JONES (“J ones Telephone”), and JAMES WALKER
(“Walker Telephone”).2 Summaries of several of these Title lll conversations are set forth
throughout this affidavit3 and they reveal the corrupt nature of the relationship among JONES,
the other defendants charged in this Complaint, and others

5. This affidavit is made for the limited purpose of establishing probable cause in
support of a criminal complaint charging that from at least in or about luly 2004 through
December 2004, BRODERICK JONES (aka “Dink” and “Thii'sty”), COREY lTLAGG (aka “Big

Pun"), DAREK HAYNES, EURAL BLACK, JOSEPH WlLSON, JAMES WALKER (aka

 

2These Orders include the following:
(i) Aeting Chief Judge Zagel’s _luly 29, 2004 Order authorizing the interception of wire
communications over Wilson Telephone (a Nextel cellular telephone assigned number
('/'08) 768-2303 (predecessor number (708) 768-l l l. l ), bearing IMSI# 316010026685480,
and subscribed to JOSEPH WILSON)‘,
(ii) Chief Judge Kocoras’s August 26, 2004 Order authorizing the interceptions over
lones Telephone (a l\lextel cellular telephone assigned number (773) 49l-'?909, and
bearing IMSl# 3160100] 6521659, and subscribed to BRODERICK C. JONES, 2““)',
(iii) Chief Judge Kocoras’s October 6, 2004 Order authorizing the continued interception
over J ones Telephone, as well as interception over Walker Telephone (a Nextel cellular
telephone assigned number (773) 491-2683 (predecessor number to (773) 491-2938),
bearing IMSI# 316010016489] 95, and subscribed to BRODERICK C. JONES, 2‘“‘); and
(iv) Chief Judge Kocoras’s Novcrnber 5, 2004 Order authorizing the continued
interception of wire communications over J ones Telephone and Walker Telephone.

3Throughout this affidavit l describe various conversations that were intercepted pursuant to
court-authorized Title ill wiretaps often including my understanding of what is being said. This
understanding and interpretation of the intercepted conversations is based on the contents and
context of the conversations my experience as a law enforcement officer and the experience of
other law enforcement officers in this investigation including our experience listening to the
intercepted conversations as a whole, as well as the investigation to date. All times listed are
approximate The summaries of the conversations set forth in this affidavit are based on draft -
not final - transcriptions Finally, the summaries below do not include all potentially cn`ininal
calls intercepted during the periods of interception, or all statements or topics covered during the
course of the intercepted conversations

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“Quick”), JOEL MONTGOMERY (aka c‘Jo]o”), and STANLEY DRlVER, JR. did conspire with
each other and with others knowingly and intentionally to possess with the intent to distribute
and to distribute controlled substances, namely in excess of 5 kilograms of mixtures containing
cocaine, a Schcdule ll Narcotic Drug Controlled Substance, in violation of Title 21, United States
Code, Section 846 and Title 18, United States Code, Section 2. Since this affidavit is being
submitted for this limited purposc, it does not include everything l know about this investigation
II. PROBABLE CAuss

A. Summary

6. This investigation has focused on the involvement ofcorrupt CPD officers in
narcotics trafficking on the south side of Chicago. The CPD’s 7‘1‘ District (which is also known
as the Englewood District) handles the day-to-day patrol of most of the Englewood area.4 As set
forth in greater detail below, this investigation has revealed that various police officers working
in and around the 7“‘ Di strict and other areas on the south side of Chicago, including CPD Officer
BRODERICK JONES (aka “Dink” and “Thirsty”_), CPD Oflicer COREY FLAGG (aka “Big
Pun”), CPD Officer DAREK HAYNES, and CPD Officer EURAL BLACK, were involved in
narcotics trafficking on the south side of Chicago. Among other things, these officers obtained
and attempted to obtain drugs and money from various drug dealers through robbery and/or

extortion As illustrated in more detail in this affidavit, these officers worked with each other

 

4The 7’th District is one of five police districts within the CPD’s Area One detective division.
ln general, the CPD is broken up into 25 police districts (Districts 1 through 25), which fit within
5 detective divisions (Areas One through Five). Area One encompasses live CPD districts (2, 7,
8, 9, and 21), all of which are on the south side of Chicago. The remainder of the south side is
covered by Area Two, which encompasses CPD districts 3, 4, 5, 6, and 22. The remaining
detective areas -- Area Three, Area liour, and Area Five - generally cover areas in and around the
Loop, the west side, and the north side of the city.

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and others to conduct vehicle stops of drug dealers, or to enter homes that the officers believed
contained drugs and/or money, for the purpose of taking any drugs, money, and weapons for their
own benefit rather than for legitimate law enforcement purposes

7. The investigation further revealed that .IOSEPH WlLSON, JAMES WALKER
(aka “Quick”), JOEL MONTGOMERY (aka “.loJo”), and STANLEY DRlVER, JR. are drug
dealers who operate on the south side of Chicago, and that they worked with the above-
mentioned CPD officers to facilitate this drug conspiracy, in particular by identifying ripoff
targets for the corrupt CPD officers and otherwise assisting in these ripoffs and attempted ripoffs.

8. JONES played a central role in this conspiracy, as he was the primary individual
who received information about potential ripoff targets, and then recruited corrupt police officers
to conduct vehicle stops or home invasions of the ripe ff targets in order to steal drugs and money
from those targets lmportantly, since approximately August 22, 2003, JONES had been stripped
of his police powers and assigned to the CPD’s Alternate Response Section (“ARS”). ARS is
also known as the “callback unit.” JONES was assigned to the ARS unit and given restricted
duty as a result of a pending CPD/lAD investigation into allegations that JONES helped a
suspect in a shooting escape apprehension As is typical of officers assigned to ARS, JONES’s
badge and his CPD identification were taken from him on about August 22, 2003. JONES’s
daily responsibilities in ARS primarily involved administrative paperwork, such as making out
case reports and accepting phone calls lndividuals in ARS generally do not perform field work.
Given that JONES was stripped of his police powers during the time that CPD officers FLAGG,
HAYNES, BLACK, and others were planning to conduct and did conduct car stops, arrests, and

residential searches at JONES’s direction, there appears to be no legitimate law enforcement

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purpose for most (if not all) of the discussions and actions taken by JONES and the other CPD
officers named as defendants in this affidavit

9. As set forth in greater detail below, the participation of the charged individuals in
this conspiracy to steal cocaine and money from drug dealers was evident on multiple occasions
from July through December 2004. ln particular, each of them participated in the planning and
execution of actual or attempted robberies/extortions of drug dealers on the following days:

(a) On July 21, 2004, JONES, FLAGG, BLACK, WlLSON, and others
participated in the attempted robbery/extortion of five kilograms of
cocaine from a drug dealer;

(b) On August 16, 2004, JONES, FLAGG, WILSON, and DRlVER
participated in the robbery/extortion of a drug dealer;

(c) On September 4, 2004, JONES, FLAGG, and WALKER participated in
the attempted robbery/extortion of at least two kilograms of cocaine and
$10,000 from a drug dealer.

(d) On September 8, 2004, JONES, FLAGG, HAYNES, and
MONTGOMERY participated in the attempted robbery/extortion of at
least three kilograms of cocaine and at least $50,000 from a drug dealer.

ln addition, conversations intercepted pursuant to Title lll wiretaps on JONES’s and WALKER’s
telephones in the fall of 2004 revealed their plans and attempts to commit additional ripoffs of
drug dealers during this time period

10. The following is a brief summary of the roles each co-conspirator played in the

conspiracy and the paragraphs in this affidavit pertaining to each:

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(a) BR()DER¥CK JONES (aka “Dink” and “Thirsty”`): JONES has been a
CPD officer since May 1997, and has been previously assigned to the 7"‘ CPD District in
Englewood, and later to the 4th CPD District, before being assigned to the ARS unit. JONES was
central to the planning and execution_of the ripoffs and attempted ripoffs of drugs and/or money
from narcotics traffickers that are set forth throughout this affidavit. hi particular, JONES was
the conspiracy’s primary organizer and the main contact between drug dealers, such as WILSON
and WALKER, who were looking to set up other drug dealers to be robbed of their drugs and/or
money, and corrupt police officers, including FLAGG, HAYNES, and BLACK, who carried out
or attempted to carry out these ripoffs by using their police powers .IONES is referenced
throughout most of the affidavit

(b) COREY FLAGG (aka “Big Pun”): FLAGG has been a CPD officer since
Noveniber 1996, and he is currently a patrol officer assigned to a gun unit in Area Two. FLAGG
was previously assigned to the 7“‘ CPD District before being transferred to the 4lh CPD District in
the spring of 2003. Throughout the charged conspiracy, FLAGG served as JONES’s primary
corrupt police associate, as FLAGG participated in nearly all of the planning and execution of the
ripoff and attempted ripoffs set forth throughout this al`lidavit, including the robbery/extortion
that occurred on August 16, 2004, and the attempted robberies/extortions that occurred on and
around July 21, 2004, September 4, 2004, and September S, 2004. As with IONES, FLAGG is
referenced throughout much of the affidavit

(c) DAREK HAYNES: HAYNES is a CPD officer who was assigned to the
7th CPD District during the time period charged in this Complaint. As illustrated in this aflidavit,

HAYNES assisted JONES and FLAGG in attempting to ripoff a drug dealer on September 8,

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2004. JONES sought HAYNES’s assistance on at least one other occasion when JONES was
attempting to set up a narcotics ripoff. (See 1|1| 128, 134, 159-225 (Section F), 240, 248, and
249.`)

(d) EURAL BLACK: BLACK is a CPD officer who was assigned to the 7"‘
CPD District as a tactical officer during the time period charged in this Complaint. As illustrated
in this affidavit, BLACK assisted JONES and FLAGG in attempting to ripoff a drug dealer on
July 2l , 2004. ln addition, JONES and BLACK sought each other’s assistance on other
occasions in robbing drug dealers and selling drugs (See fill ll-Sl (Section B), 249 252, 253,
255, 256, 260, and 26l _)

(e) JOSEPH WILSON: WlLSON is a drug dealer who assisted JONES and
FLAGG in ripping off drug dealers by identifying potential ripoff targets and then helping to
arrange for those ripoffs to occur. ln particular_, WlLSON’s participation was critical to the
attempted ripoff of five kilograms of cocaine on July 2l, 2004, and to the robbery/extortion of
another drug dealer on August 16, 2004. lri addition, WlLSON and WALKER worked with each
other to broker drug deals for various customers (See 1[1[ ll-51 (Section B), 52-95 (Scction C),
227-238 (Section H), and 239-261 (Section l).)

(D JAMES WALKER (aka “Quick”): WALKER is a drug dealer who, like
WILSON, assisted .lOl\lES and FLAGG in ripping off drug dealers by identifying potential ripoff
targets and then helping to arrange for those ripoffs to occur. In particular, WALKER’s
participation was critical to the attempted ripof f of at least two kilograms of cocaine and $10,000
on September 4, 2004. ln addition, throughout much of the fall of 2004, WALKER attempted to

arrange for JONES and others to rob a narcotics stash house located at 263l S. Troy in Chicago.

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WALKER also sought out additional robbery/extortion targets for JONES and JONES’s crew of
corrupt police officers, and facilitated narcotics transactions for various drug customers (See ilil
36 (fn. 8), 53 (fn. 12), 96-126 (Section D), 127-153 (Scction E), 159, 182, 184, 189, l91, 198,
227-238 (Section H), 239-261 (Section l), and 262-266 (Section J).)

(h) JOEL MONTGOMERY (aka “Jolo”): MONTGOMERY worked with
JONES to airange the attempted robberyfextortion of at least three kilograms of cocaine and
$100,000 from a drug dealer on September 8, 2004. (See ilil 159-225 (Section F).)

(i) STANLEY DRIVER JR.: DRIVER worked with JONES, FLAGG, and
WILSON to arrange and execute the robbery/extortion of a drug dealer on August 16, 2004. (See
111| 52~95 (Section C).)-

B. Attempted Ripr)jj”r)fFi've Kilogrmiis of Cocaine By JONES, FLA GG, BLA le,
WILSON, and Others Near WILSON’s Cc.cr Wash (7/21/04)

Summary
ll. As described in greater detail below, on July 21, 2004, CPD Officer JONES, CPD
Officer FLAGG, CPD Officer BLACK, WILSON, and others attempted to steal, through
robbery/extortion, five kilograms of cocaine that they believed were going to be delivered to
WILSON at WlLSON’s car wash. Unbeknownst to those CPD officers or to WlLSON, one of
the individuals arranging the five-kilo sale to WILSON was cooperating with law enforcement

authorities That cooperating individual (“Cl-l ”),5 who was working with a CPD narcotics team

 

5Cl-l began cooperating with law enforcement authorities after being arrested in 2002 for
possessing approximately one kilogram of powder cocaine (charges stemming from that arrest
have since been dismissed because of the CI-l ’s subsequent cooperation). The Cl has provided
reliable information to law enforcement authorities that has been used in connection with at least
five arrests and five seizures of narcotics While CI-l has no criminal convictions he/she has
been involved in illegal activity, specifically including drug trafficking, and has used aliases

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(that had not previously been involved in this investigation), had offered to sell WlLSON five
kilograms of cocaine that would be delivered to WILSON by one of Cl-l ’s drug associates

12. As illustrated below, the evidence shows that once WILSON made arrangements
to receive the five kilograms of cocaine from Cl-l at his (WILSON’s) car wash, WlLSON
worked with JONES to set up Cl-l (and one of Cl*l 1s drug associates) to be robbed of the five
kilograms of cocaine that WILSON negotiated to be delivered to him at his car wash. JONES, in
tum, enlisted the help of other CPD officers (FLAGG, BLACK, and Officer A) to conduct traffic
stops on Cl-l and his/her drug associate, under the guise that these officers were doing legitimate
police work, in order to steal the five kilograms of cocaine. The factors indicating that these
officers were not conducting legitimate police work are discussed in much greater detail below,

and include the fact that JONES was stripped of his police powers at the time and not permitted

 

He/she has been arrested, but not convicted, of drug charges and various traffic offenses

As noted below, on July 20, 2004, Cl-l contacted a CPD narcotics officer, indicated
he/she could provide cooperation on an imminent narcotics deal, and asked for the CPD’s
assistance in connection with an outstanding arrest warrant for a prior narcotics arrest. Since that
time, Cl-l has continued to cooperate with law enforcement officers and has requested assistance
with any immigration problems he/she may have as lie/she is an illegal alien.

l believe CI-l to be reliable on matters relating to WlLSON and the events surrounding
July 21, 2004 because much of Cl-l ’s information in that regard has been corroborated by
independent investigation, including physical surveillance, telephone record analysis
consensually-recorded conversations and interviews with CPD officers experienced in
investigations targeting illegal narcotics activity l\/luch of this corroboration is set forth later in
this affidavit, which addresses the events of July 21, 2004. CPD officers who have worked with
Cl-l in the past have also informed me that Cl-l has provided them with reliable information on
prior occasions

According to Cl-l, he/she had sold cocaine and marijuana to WlLSON for approximately
two years Cl-l said that during that time, lie/she initially sold WILSON approximately 30
kilograms of cocaine per week. Cl-l said that on one occasion, WlLSON threatened Cl»l when
Cl-l tried to collect $600 that WlLSON owed to Cl-l. Cl~l said that his/her last cocaine sale to
WILSON had been in about May or June 2004, when Cl-l sold WlLSON about 10 kilograms of
cocaine over a week for $20,000 per kilogram Cl~l believed that WlLSON sold the kilograms
of cocaine to WILSON’s customers for 322,000 per kilogram.

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to work on such a field investigation; and the fact that at the time these officers (JONES,

FLAGG, BLACK, and Officer A) followed the cars and conducted traffic stops, they were not

part of the CPD narcotics team investigating WlLSON, they were not scheduled to be working

together, and with the exception of BLACK, they were not even on duty.
MZQ,Q£

13. On the morning of July 17, 2004, according to Cl-l, he/she received a telephone
call from WILSON. Cl-l recognized the voice of WlLSON, as well as WlLSON’s telephone
number on Cl~l ’s Caller ID. A review of records for Wilson Telephone (which then had number
(7`08) 768-1111) showed approximately four contacts between that phone and a telephone used
by Cl-l on July 17, 2004. ln that call, WlLSON and Cl-l discussed Cl-l selling WlLSON five
kilograms of cocaine for 320,000 per kilogram

14. A review of records for Wilson Telephone showed four contacts between that
phone and lones Telephone on July 17, 2004.

15. On .luly 19, 2004, Cl-l said that WlLSON called Cl-l. A review of records for
Wilson Telephone showed approximately seven contacts between that phone and a telephone
used by Cl-l on July 19, 2004 WlLSON said that the guy who was going to supply the money
for the deal was not ready, so WILSON wanted to do the deal on July 20. Cl-l agreed and said
that WILSON should call when he was ready.

MQQ£

16. On July 20, 2004, Cl-l met with a CPD narcotics officer, providing him with

information that WILSON wanted to conduct a narcotics deal. At that time, Cl-l asked if the

CPD narcotics officer could help Cl-l with an outstanding arrest warrant in Cl-l ’s pending

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narcotics case, in exchange for Cl-l ’s cooperation against WILSGN.

l7. At about 3:00 p.m. on July 20, in the presence of a CPD narcotics officer, Cl-l
called WILSON on Wilson Telephone Both Cl-l and a CPD narcotics officer posing in an
undercover capacity as Cl-l ’s brother (thc “UC”) spoke with WlLSON. ln this approximately
3:00 p.m. telephone call,‘J the UC told WILSON that his/her supplier of cocaine only had two
kilograms available to sell to WILSON on Tuesday (July 20), but could get three more kilograms
of cocaine on Wednesday, July 21, 2004. WILSON responded that he wanted to buy all five
kilograms at once. Later in the call, WILSON told the UC that he was upset that Cl»l could not
get all live kilograms that day, and he (WILSON) later gave the phone to an unknown male
(“UM”), who told the UC that Ul\/l wanted to do the deal that day because Ul\/l was leaving town.
UM suggested doing the deal that night, but after the UC refused, the Ul\/l said he would try to
wait.

lS. At about 5:00 p.m. on July 20, at the direction of the CPD narcotics officers
handling Cl-l ’s cooperation, Cl»l went to Sunrise Car Wash at 8540 S_ Ashland Ave., Chicago,
illinois (“WlLSON’s car wash”). Cl-l was not surveilled during this visit nor was the
conversation there recorded According to Cl-l, WlLSON owned the Car Wash.7 CI-l said that

he/she met WlLSON at the Car Wash, and that WlLSON said that he wanted five kilograms for

 

"Telephone records for Wilson Telephone indicate that there were about ll contacts between
a telephone used by Cl-l and Wilson Telephone on July 20, 2004, including contacts around 3100
p.m.

?A check with a database of real estate records maintained by the U.S. Secret Service showed
that WILSON owned the property at 8540 S. Ashland, and records from the City of Chicago
Licensing Unit showed WILSON as the owner of Sunrise Car Wash, lnc., which was located at
8536-8540 S. Ashland in Chicago.

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“Roger.” Cl-l told WILSON that when WlLSON had the money for the five kilograms, he
should call Cl-l.

19. Telephone records confirm that Wilson Telephone was in contact with l ones
Tekphoneonabouthvecwcamonson§hdy20,2004

July 21, 2004

20. Telephone records for Wilson Telephone and pen register and trap and trace data
for J ones Telephone show numerous contacts between those telephones on July 21, 2004,
According to these records, the first call between the two is a call from l ones Telephone to
Wilson Telephone at approximately 8:42 a.m.

2l. According to Cl-l, WlLSON called Cl-l at about 8:58 a.ni. (phone records for
ananqmmwnmwacMHmmded@wmemdwCLVsmmmHummmmmmdy&H
amilmwmmgm€bhmm@dmc&gwmhw%nmmmmwd“UBONmmwwdmmm
was ready to buy the cocaine. lrnmediately after this call, at about 8:54 a.m., phone records show
that a 2l-second call was made from Wilson Telephone to J ones Telephone.

22 Aldmm959amqmeUCcmwdWHBONon“mmdeqmmm@dqmmw
records confirm an approximately 24-second call at approximately this time from Cl~l ’s
telephone to Wilson Telephone). During this call, which was not recorded, the UC told
WHBONmmdwUCummdm%mmmdwcmmmewmmmmmmeDNOam.WHBON
indicated that he understoodl Again, phone records show that immediately after this call
WILSON called JONES, evidenced by an approximately l minute and 12-second call at 9:40

a.m. from Wilson Telephone to l ones Telephone

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Cl-l Meets WILSON at the Car Wash

23. According to Cl-l, Cl-l called WlLSON on Wilson Telephone at about 10:30
a,m. This call was not recorded According to Cl-l, he/she told WILSON that he/she was on the
way. WILSON indicated that he understood Telephone records reflect a call from Cl-l ’s
telephone to Wilson Telephone at approximately 10:48 a.m.

24. Shortly after that call, Cl-l picked up an individual (“lndividual A”), who Cl-l
indicated was his/her supplier of cocaine, on the corner of 47th and Winchestcr in Chicago. Cl-l
was driving a black Chevy Blazer, and the two went to WlLSON’s car wash to meet with
WlLSON and confirm that WILSON had the money for the cocaine purchase

25. Around this same tinie, it appears that WlLSON and JONES again spoke with
each other. Telephone records show an approximately l minute call from J ones Telephone to
Wilson Telephone at approximately 10:30 a.m., as well as two shorter calls from Wilson
Telephone to J ones Telephone at approximately 10:50 a.m. and 10:51 a.m.

26. At about ll:00 a.m., undercover CPD narcotics officers watched as Cl-l and a
Hispanic male (identified as lndividual A by Cl~l) arrived at the Car Wash together in a black
Blazer and went inside According to Cl-l, he/she and individual A then met with WlLSON.
This meeting was not recorded Cl-l said that WlLSON used a Nextel telephone to call Ul\/l
again. WILSON used a speaker phone feature, so CI-l could hear the entire conversation
WH.SON said that the guys were there and wanted to see thc money. Ul\/l said that he would be
there in five minutes Af’ter about 15 minutes, WILSON made another call using his Nextel
phone, which was also on speaker phone. In that call, Ul\/l said that he wanted to make sure that

it was good, which Cl-l understood to mean that Ul\/l wanted to make sure that the quality of the

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cocaine was good WILSON indicated that he could vouch for Cl-l and lndividual A, saying that
wkmwmmmcwwmmws@mtUMnwdmhmmwwammomthmHmwnmmm%
to get the money together. Cl-l then told WlLSON to call Cl-l when WILSON was ready, and
Cl-l and lndividual A left together

27. Telephone records showed 7 contacts between Wilson Telephone and J ones
Telephone between ll:00 a.m. and ll :54 a.m. Thrce of these calls, at approximately l l :15 a.m.,
l l :25 a.m., and ll:54 a.m., lasted approximately 1 minute, 3 minutes, and 3 1/2 minutes
respectively

28. Shortly before noon, undercover CPD narcotics officers saw Cl-`l and lndividual
A leave the Car Wash. Officers followed Cl-l and lndividual A as they drove in the black Blazcr
nmnmeCmWMMhmwME4TUmd“mwmmm.Dmmgmmnmsdmodwmwmuwdmma
champaign or cream-colored Cadillac Escalade, llli.nois license plate 5399422, (the “Escalade” or
“JONES’s Escalade”) was following CI-l and lndividual A. The officers also noticed that this
Escalade displayed a Fratemal Order of Police (“FOP”) sticker. According to lllinois Secretary
of States records, illinois license plate number 5 399422, is registered to BRODERICK JONES,
and JONES has been seen driving the Escaladc on prior occasions The driver of the Escalade
was not identified during that surveillance, but JONES was seen driving the Escalade at several
pomwlmmdmtmw.CPDoHEmshnmwedmeEmmmwumhsmvdhmmenmsmmonme
Escalade at about 47th and Damen.

29. According to Cl-l, he/she and lndividual A saw that the Escalade was following
them from WlliSON’s car wash. Cl-l lost sight of the Escalade at about 47“‘ and Damen.

According to CI-l, he/she dropped lndividual A off at 47“‘ and Winchester, and then met with the

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CPD narcotics officers handling C[-l ’s cooperation

30. Shortly after the CPD narcotics officers handling Cl-l ’s cooperation discovered
the presence of the Escalade displaying the FOP sticker, they contacted another CPD officer, who
was working on this police corruption investigation At that point, agents and officers involved
in this police corruption investigation began working with the CPD narcotics team handling Cl-
l’s cooperation and in surveilling the actions of Cl-l and others on July 21, 2004.

3l. JONES does not appear to have any reason relating to his employment as a CPD
officer that would explain his presence at 47111 and Damen on July 21, 2004, As noted above,
JONES had been shipped of his police powers and assigned to the ARS. fn addition, JONES
was not part of the CPD narcotics team handling Cl-l ’s cooperation, investigating the potential
narcotics deal with WiLSON, or conducting surveillance that day. Finally, CPD Attendance and
Assignrnent records show that JONES had taken comp time from ll a.ni. to 3 p.m. on July 21,
2004, indicating that JONES was not even on duty at the time he was surveilled during the events
that day. Accordingly, based on the experience and training of CPD officers who are assisting in
this investigation, my own experience, and the investigation to date, l believe there is no
legitimate job-related reason for .TONES to have been following the black Blazer.

Traflic Stop Conducted by FLAGG

32. At approximately the same time that Cl-l and lndividual A left the Car Wash,
CPD officers saw a red Chevy Malibu driving near the black Blazer. lt appeared that the red
Malibu was driving in tandem with the black Blazer. As the two cars drove north on Ashland,
officers observed that a Chevy Caprice, illinois license plate, Ml l 1363 (the “Caprice”) appeared

to be driving along behind the two cars. The license plates on the Caprice were lllinois

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municipal plates, which l know from experience are often used by City of Chicago vehicles,
including unmarked CPD cars ln addition, CPD records revealed that the Caprice was assigned
manAmaTwognmamnnmmhmnmmeCPDoHEMCOREYFLAGGnmsMngwd

33. At about l2:00 p.m., about two miles from the Car Wash, the Caprice activated
emergency equipment and pulled over the red Malibu, which was being driven by a Hispanic
mM.UJwmmdmmmmmwwmnm@wmmmmhdw®dAmMmmmhdAhwmmm
dmwnmdmwwwh@w®dAmdw&nWmMmMUwammnmhwmmmp
According to Cl-l, lndividual A always has someone follow him for security purposes
lndividual A’s son said that he noticed that an Escalade was following him until 47th Street.
individual A’s son told Cl-l that lie had been stopped by the police, and thus, was presumably
the individual in thc red Malibu. ln summary, lndividual A’s son told CI-l that the officer who
pulled him over said he had been stopped for speeding through a yellow light, that the police
asked for his license and insurance, and that the police searched his car.

34. A CPD officer who was part of the undercover narcotics surveillance team
working with Cl-l, witnessed the stop of the red l\/falibu and drove around the block in his
unmarked carte return to the scene of the stop. When that CPD narcotics officer returned, the
anmemnmdmmrwmzTwonMWMuMsgnomofmeCmnme'HmdnwnofmeCmnme
spoke with the CPD narcotics officer, and after the CPD narcotics officer identified himself as a
CPD officer, the driver let the CPD narcotics officer go. The CPD narcotics officer recognized
the driver of the Caprice as being a police officer that he had seen before 'l`he CPD narcotics
onmdmmidmnmedammumofCPDCmerCOREYFLAGGasmednwxofme€mnwe

35. FLAGG does not appear to have any reason relating to his CPD duties to conduct

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a traffic stop on the red Malibu or on the CPD narcotics officer conducting surveillance FLAGG
was not part of the CPD narcotics team handling CI-l ’s cooperation, investigating the potential
narcotics deal with WILSON, or conducting surveillance that day. lnstead, FLAGG was a patrol
officer assigned to an Area Two gun unit. Area Two covers a large section of south Chicago, but
the stop of the red Malibu took place outside of Area Two. Further, evidence suggests that
FLAGG was not on duty at the time of the traffic stop. CPD Assignment and Attendance records
show that FLAGG was not on duty until 5 p.m. that day. ln addition, FLAGG checked out a
personal data terminal, which is a mobile electronic device that patrol officers use in their patrol
cars to receive duty calls and check records remotely, at 9:30 p.m. that night. Based on the
experience of CPD officers involved in the investigation, patrol officers typically check out a
personal data terminal at the beginning of their shift, not the end Accordingly, based on these
records and the experience of these CPD officers, lbelieve that FLAGG was not on duty when he
stopped the red Malibu.
Telephone Contact Between JONES and FLAGG

36. information received from a court-authorized pen register and trap and trace
device on .l ones Telephone on J ul y 2l, 2004 showed a significant amount activity not only with
Wilson Telephone, but also with several other Nextel telephones subscribed to by ]ONES8 and
one Nextel telephone subscribed to by COREY FLAGG ((773) 640-2920, IMSI#
3160l 0026708779, hereinafter “Flagg Telephone”). ln particular, it appears that there were

approximately 20 “direct connect” contacts between l ones Telephone and Flagg Telephone

 

8In addition to J ones Telephone, JONES had nine additional Nextel telephones subscribed to
his name As noted in greater detail below, one of these telephones was being used by
WALKER, and is referred to herein as Walker Telephone

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between 9:08 a.m. and ll:54 a.m. fn addition there were two additional “direct connect”
contacts between the two telephones approximately l2:57 p.m and 1:40 p.m.
Meeting Bctween JONES and FLAGG

37. At about l2:00 p.m., law enforcement officers conducting surveillance in
connection with this investigation (“surveillance”) saw lones’s Escalade parked near WlLSON’s
car wash. Surveillance identified the driver of the Escalade as BRODERICK .lONES, and saw
JONES talking on a telephone and go into WlLSON’s car wash. At 12:25 p.m., surveillance
observed JONES leave WlLSON’s car Wash and get back into the Esealade, and surveillance
followed ]ONES as he drove to the vicinity of 941 8 S. Wabash, Chicago, lllinois Aecording to
records maintained by the lllinois Seci'etary of State, 9418 S. Wabash is the horne address listed
on COREY FLAGG’s lllinois driver’s license and agents and officers had previously seen
FMKMmmmmmmsTmmsmdhmmwmmthESdeAUHnwmemmn
the alley behind 9418 S. Wabash. At about 12:45 p.m., surveillance saw J`ONES leave the
vicinity of 9418 S. Wabash, and surveillance on JONES was lost at about 87th and Racine.

38. Based on my training and experiencc, and on the investigation to date, l believe
that FLAGG and the other individual stopped the red Malibu with the intention of searching it for
cocaine, and then illegally seizing that cocaine by robbery and/or extortion l believe that based
on FLAGG’s telephone contact with JONES, FLAGG was aware that Cl-l was discussing a
cocaine sale with WILSON, and that FLAGG expected that the red Malibu was transporting the
cocaine to be delivered to WILSON. Further, l- believe that JONES was driving the Escalade at
that time to assist FLAGG with surveillance on the black Blazer and red l\/lalibu as .lONES was

in communication with both FLAGG and WlLSON. Given that neither FLAGG nor JONES

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appeared to have been performing their official police duties at the time FLAGG stopped the red
Malibu, I believe that they intended to keep (rather than inventory as evidence) any cocaine
found in the red Malibu and then distribute that cocaine
CI-l ’s Second Visit to WlLSON’s car wash

39. After making the first trip to WILSON’s car wash and dropping off individual A,
Cl-l received a call from lndividual A. The call was not recorded According to Cl-l, lndividual
A wanted Cl-l to pick up and transport the five kilograms of cocaine to WlLSON’s car wash.
Cl-l then returned to the area of 47“‘ and Winchester to pick up lndividual A. At that time, Cl-l
met with lndividual A and lndividual A’s son, where Cl-l first learned that lndividual A’s son
had been pulled over by the police According to Cl-l, during this meeting, Cl~l called
WILSON on Wilson Telephone and gave the phone to individual A’s son lndividual A’s son
then told WlLSON that he had been stopped by the police WILSON indicated that they were
counting the money. Telephone records reflect two calls from a telephone used by Cl-l to
Wilson Telephone at approximately l2:30 p.m. and 12:37 p.m. Telephone records further reflect
approximately 7 calls between Wilson Telephone and J ones Telephone between approximately
12:01 p.m. and 1:22 p.m., including a call from Wilson Telephone to .l`ones Telephone at
approximately l2:3l p.m (lasting approximately l minute) and l2:38 p.m. (lasting approximately
4 minutes), suggesting that WILSON spoke with JONES immediately after WlLSON heard from
Cl_l.

40. According to Cl-l, after speaking with WlLSON over Wilson Telephone, Cl~l
and lndividual A drove to WlLSON’s car wash to check the money for the expected drug

transaction Surveillance followed Cl-l and lndividual A from the vicinity of 47“` and

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Winchester to WlLSON’s car wash. CI-l drove the black Blazer while lndividual A drove the
red Malibu. At about 1;10 p.m., surveillance saw Cl-l and lndividual A go into WlLSON’s car
wash.

41. According to Cl-l, lie/she and lndividual A met with WILSON at WlLSON’s car
wash. That meeting was not recorded Cl-l said that WlLSON suggested that the guys with the
money would be there in about five minutes WlLSON then called someone using the Nextel
phone (not on speaker), and said that Cl-l and lndividual A were there for the money. After
some time, WILSON made two phone calls The speaker on the second call indicated that he
would be ready in five minutes WlLSON told Cl-l that if that customer was not ready,
WlLSON had plenty of other buyers After approximately 10 minutes, Cl-l and lndividual A left
together. Prior to leaving, Cl-l told WlLSON to call when he was ready.

Surveillance of JONES_ BLACK. and Others Near WlLSON’s Car Wash

42. At about 1110 p.m., surveillance saw JONES move the Escalade so that it was
parked adjacent to a Crown Victoria, lllinois license plate Ml 14781, (thc “Crown Victoria”).9
The license plates on the Crown Victoria were lllinois municipal plates, which l know from
experience are often used by City of Chicago vehicles, including unmarked CPD cars There
were two black males in the Crown Victoria. JONES got out of the Escalade and appeared to
engage in conversation with the two men in the Crown Victoria for approximately 10 to 15
minutes After that point, JONES returned to the Escalade and drove away. The Crown Victoria

left the gas station shortly thereafter While law enforcement officers could not identify the two

 

gA check of CPD records indicates that this Crown Victoria was assigned to EURAL BLACK
and another officer (identilied below as Officer E) from approximately 10:00 a.rn. to 6:30 p.m.
on that day.

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individuals in the Crown Victoria at the time, as detailed below, CPD Officer EURAL BLACK
and another individual, identified herein as “Officer A,” were identified driving the Crown
Victoria shortly thereafter.

Traffic Stop of Cl-l bv BLACK and Officer A

43. Shortly before 1:25 p.m., surveillance saw Cl-l and lndividual A leave
WlLSON’s car wash after the above-mentioned meeting Cl-l drove away from WlLSON’s car
wmhmmemmkmmmwmmhmwmmhakhwwmwwmdmmdemu/Mmmmdmmme
tiine, JONES’s Escalade was seen in the vicinity of WlLSON’s car wash. Shortly thereafter,
surveillance saw the Crown Victoria following the black Blazer traveling northbound on Ashland
Avenue about four blocks away from the Car Wash. Surveillance then saw JONES following the
menWmmmmhmEmmwe

44. At about 1:25 p.m., surveillance saw the Crown Victoria activate its emergency
equipment and pull over the black Blazer. At this timc, l ONES pulled his Escalade into a
parking spot about four or five car lengths behind the traffic stop.

45. After the traffic stop, surveillance circled the block in unmarked cars to establish
their surveillance positions When they returned, they saw two black men talking to CI-l , who
was outside the car. Surveillance was able to identify one of the two men as CPD Officer
EURALBLACK.CLlMmrmmmhwpmmmsMTPDOHRHEURALBLACKmmofOan
A%MUMWWMMMMMWMmme}memnManhmnmwmwwmwmc
man Cl-l identified as Officer A inside the black Blazer. Officer A appeared to be searching the
Blazer, while BLACK and CI-l were in the Crown Victoria.

46. At about 1:50 p.m., Cl-l drove away in the black Blazer. JONES left the area

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shortly before Cl-l was released BLACK and Officer A drove away in the Crown Victoria after
CI-l left

47. Neither BLACK nor Officer A appears to have any reason relating to their CPD
duties to bc working together on July 21, 2004 to conduct a traffic stop on the black Blazer.
Neither officer was part of the CPD narcotics team that was working with CI-l and investigating
the potential five kilogram cocaine deal with WILSON. In addition, CPD Attendance and
Assignment records indicate that Officer A, who normally works in the T‘h CPD District, was on
medical leave on July 21, 2004. Further, the traffic stop on the black Blazer was done outside of
the 7“‘ Distriet. Based on the experience of CPD officers involved in this investigation, it would
be unusual for a member cf a tactical unit to stop a car outside of his assigned area unless the
officer had initially started following the car inside his assigned area. Here, thc black Blazer was
followed from WlLSON’s car wash and stopped about four blocks north of WlLSON’s car wash,
which area is in the 6th CPD District. in addition_, BLACK was a patrol officer with a different 7"`
District tactical unit (Unit #763) than Officer A. Accordingly, based on the experience and
training of CPD officers who are assisting in this investigation and my own experience and the
investigation to date, l believe that BLACK and Officer A had no legitimate job-related reason to
stop and search the black Blazer.10

48. According to Cl-l, BLACK and Officer A stopped the black Blazer, handcuffed
him/her outside the car, and asked him/her where the drugs and guns were. When CI-l denied

knowing about any drugs or guns, CI-l was asked for his/her driver’s licensel CI-l provided a

 

10For the same reasons stated above in reference to .lONES following the red Malibu, l also
believe that JONES had no legitimate job-related reason to follow the black Blazer or to observe
the stop and search of the black Blazer.

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Mexican driver’s license and said that he/she had been in the country for 11 years. Cl-l said that
lie/she was placed in the Crown Victoria while his/her ear was searched At some point, the man
identified as Officer A returned to the Crown Victoria and said to let CI-l go because Officer A
could not find anything Shortly thereafter, CI-l was allowed to leave.

49. Based on my experience and training, and on the investigation to date, l believe
that BLACK and Officer A stopped Cl-l’s car with the intention of searching it for cocaine1 and
then illegally seizing that cocaine by robbery and/or cxtortion. l believe that BLACK and Officer
A were aware that Cl-l was discussing a cocaine sale with WILSON, and that BLACK and
Officer A hoped that Cl-l was transporting cocaine to be sold to WILSON (which is what CI-l
had done during previous drug deals with WILSON). l further believe that JONES was assisting
BLACK and Officer A by providing them information regarding thc target of the ripoff, and also
by providing security and performing counter-surveillance during that attempted ripoff.

Undereover Call to WILSON over Wilson Telephone

5(). On July 21, 2004, shortly before 4:00 p.m., the UC called WILSON on Wilson
Telephone, During that call, which was recorded, the UC told WILSON that Cl-l had been
stopped by the police. WILSON did not express surprise at that statement, saying “Yeah, yeah,
you know, but you know something things didn’t look right.” The UC also told WILSON that
L`you said bring the cars. We brought the five cars,” indicating that Cl-l had brought five
kilograms of cocaine. fn rcsponse, WlLSON said “yeah.” Later, the UC asked WILSON “you
say you have the papers (meaning the money for the cocaine), what happened to the papers?” fn
response, WlLSON said “well the guy did come, and stuff, but you know something else, I’m

saying now that things didn’t look right around here.”

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51. As set forth below in paragraphs 249, 252, 253, 255, and 256 ofthe affidavit, on
November 13, 2004, JONES had conversations with BLACK that were intercepted over J ones
Telephone in which they discussed a “car stop” ripoff near WILSON’s car wash.

C. Rz`poff of Drugs and/or Money By JONES, FLA GG, WILSON, and DRIVER
Near 83rd Street and Stoney Islrmd Aven ue (8/1 6/04)

Summarv

52. As described in greater detail below, on August 16, 2004, CPD Officer JONES,
CPD Officer FLAGG, WILSON, and DRIVER participated in the robbery/extortion of a drug
dealer behind a car wash located near 83rd Street and Stoney Island Avenue in Chicago. Before
that ripoff, WILSON and DRlVER arranged for a drug dealer to meet with them (WILSON and
DRIVER) in order to exchange drugs for money. As with the attempted ripoff on July 21, 2004
discussed above, WILSON contacted lONES to arrange for jONES to have corrupt police
officers stage a “police stop” in which it would appear that any money and/or drugs taken from
the drug dealers were taken pursuant to legitimate police activity. As with the above-mentioned
attempted robbery/extortion, JONES enlisted FLAGG’s help to conduct this ripoff, which took
place on the evening of August 16, 2004, Amon g other things during this ripoff`, some of which
was captured on video, FLAGG and JONES appeared to place WILSON in custody, presumably
as part of a ruse to make it appear that any drugs and/or money seized during that “stop” and
“arrest” were legitimately taken from the drug dealers However, telephone conversations
intercepted over Wilson Telephone and related surveillance made it clear that WILSON was not
actually arrested and that the police stop was staged in order to allow JONES, FLAGG,

WlLSON, and DRIVER to keep any drugs and/or money brought by the drug dealers to the

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expected drug deal.
August 13-]5, 2004

53. From approximately Friday, August 13, 2004 through Sunday, August 15, 2004,
W[LSON and STANLEY DRIVER JR.ll discussed meeting with each other. Based upon the
context of these conversations and other conversations, it is my belief that WlLSON and
DRIVER discussed meeting with each other in order to arrange for a drug trafficker to be sent to
a location where that trafficker could be robbed/extorted by law enforcement associates of
WlLSON - CPD Officers JONES and FLAGG, For example, in an intercepted call at
approximately 6:32 p.m. on August 13 (Wilson Tel. #343)'2, DRlVER called WILSON, and
askcd, among other things, whether WlLSON ’s “people be in motion.” WlLSON advised
DRl\/ER to stop by to meet with WlLSON in person, which DRIVER agreed to do. The next
day, Saturday, August 14, at approximately 12114 p.m. (Wilson Tel. #351), WILSON called

DRIVER, who indicated that he needed to check on the time. WILSON responded that he

 

llOther agents and lhave identified STANLEY DRIVER, JR, as the speaker in this and other
conversations set forth in this affidavit based upon several factors, including the following: i) in
some of these calls, DRIVER is identified as “Stan”; ii) subscriber information for one cellular
telephone ((773) 991-9299) used by “Stan” lists the address for the subscriber as 1639 E. 84th
Street, Chicago, and lllinois Sccretary of State records indicate that two individuals named
Stanley Driver reside at this same address; iii) Ameritech landline telephone ((773) 731-5521)
used by “Stan” on August l6, 2004, lists the subscriber as Yolanda Driver, 1639 E. 84“‘ Street in
Chicago; iv) on December 8, 2004, officers working on this investigation spoke with STANLEY
DRIVER JR., at which time DRlVER identified himself and the agents recognized DRIVER’s
voice as the same voice they had heard in intercepted conversations; v) the common sound of
DRIVER’s voice in intercepted conversations; and vi) the contents and context of intercepted
conversations

‘2The call or “session” numbers for conversations intercepted over Wilson Telephone, J ones
Telephone, and Walker Telephone are identified as (Walker Tel. #H), (Jones Tcl. # l, and
(Walker Tcl. # l, respectfully

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needed to know the “color” and “make,” apparently referring to the car in which the drug
trafficker would be traveling with the drugs and/or money. WILSON attempted to reach
DRl\/ER on several additional occasions on August 14, and in an intercepted conversation at
approximately 5:57 p.rn. (Wilson Tel. #358), DRl\/ER told WILSON that he was trying to call
his “guy” (the drug trafficker). WILSON told DRIVER that his friend had stopped by and was
asking what was going on. DRIVER responded that he would call WILSON back later that day
er the next day.

54. The next day, Sunday, August 15, 2004, DRIVER called WlLSON at
approximately 1:10 p.m. (Wilson Tel. #366). In that intercepted conversation, DRIVER told
WILSON that DRIVER would let WILSON talk with his “guy” (the drug associate), and that
they could “go ahead and do it” as DRIVER’s guy was “going to get things ready.” After
DRIVER asked WlLSON where he was located, WILSON said he was at the car wash, referring
to his car wash on 8540 S. Ashland. DRIVER told WlLSON that he would meet with WILSON
at WILSON’s car wash, that he (DRIVER) was going to let WlLSON talk with his “guy” to put
his “order in,” and that they could just go their and "make the movc,” referring to the plan of
letting WILSON contact the drug supplier to place an order for drugs, after which WILSON
could “make the move" by directing corrupt CPD officers to ripoff the drugs.

55. Pen register and trap and trace data indicate that on the afternoon of Sunday,
August 15, 2004, there were approximately 5 “direct connect” connections between .l ones
Telephone and Flagg Telephone from approximately 4:30 p.m. to 6:l 5 p.m.

August 16, 2004

56. At approximately `10:21 a.m. on t\/londay, August l6, 2004 (Wilson Tel. #372),

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WILSON placed an outgoing call to DRiVER at (773) 99l-9299. ln that conversation, DRlVER
indicated that another individual had to work, but that he would probably be done by 5:00 p.m.
DRIVER stated “we could probably try to get it before then,” perhaps by 2:00 or 3:00 by going
through one of his “buddies.” ln this conversation, l believe DRIVER and WILSON were
arranging for a drug transaction later that day, and that DRIVER was telling WILSON that a drug
trafficker or one of that person’s “buddies” could provide “it” (thc drugs) later that day. l further
believe that WlLSON and DRIVER were planning on setting up this drug trafficker to be robbed
and/or extorted of drugs and/or money later that day,

57. At approximately l l:05 a.m., JONES placed a call to WlLSON (Wilson Tel.
#374). in that conversation, WILSON indicated that he “just finished talking to him (DRIVER).”
WILSON told JONES that DRIVER said that “the person” (the drug trafficker) had to work that
day, but that it was a “sure thing today,” apparently referring to a drug transaction that was being
set up by WILSON and DRlVER. WlLSON further informed JONES that “the guy” (the drug
trafficker) was “at work,” but that he “might have another guy to do this (the drug transaction)
for him." WILSON said that it was a “sure thing,” that would probably take place between “2
o’clock and 5 o’clock."

58. Shortly after this conversation between JONES and WILSON, JONES had two
“direct connect” connections with FLAGG over Jones Telephone and Flagg 'I`elephone. These
two “direct connect” connections were made at approximately l l :l 0 and 11:50 a.m.

59. On the afiemoon of August 16, 2004, surveillance observed JONES leave work at
approximately 2:20 p.m., from 21 ll W. Lexington Avenue in Chicago, which is the location of

the CPD ARS Unit where JONES was assigned The surveillance then followed JONES, who

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was driving his champagne-colored Cadillac Escalade, to a gym named Xtreme Sports located in
the vicinity of West 95“‘ Street and Ridgcland Avenue. After observing JONES make several
stops, surveillance observed JONES exit his Escalade and enter the gym at approximately 3:30
p.m. Surveillance saw that the Escalade remained in the parking lot of Xtreme Sports until
shortly after 6:30 p.m., when .lOl\l`ES exited the gym, entered his Escalade, and left the area.

60. At approximately 4:38 p.m., DR]VER called WILSON (Wilson Tel. #383).
During that intercepted conversation, DRIVER told WILSON “it’s still supposed to be
happening,” referring to an anticipated drug transaction between WILSON and another drug
trafficker as brokered by DRIVER. WILSON wanted DRlVER to come to WlLSON’s car wash
so they “could get things together.” DRIVER explained that they probably only needed “a couple
words” and they “should be ready for it,” and that he did not presently have a ride to meet
WILSON. DRl\/ER further explained, “l’ll probably have you look at it and tell him (the drug
trafficker) if it’s alright, he thought it was going to be the first thing he said,” referring to
WILSON looking at the drugs and/or money to be supplied by the drug trafficker. DRIVER also
mentioned that he had just called “him” (thc drug trafficker), who indicated the transaction would
happen about the same time they had planned

61. At approximately 5:03 p.m., DRIVER called WILSON (Wilson Tel. #3 84), and
asked whether WILSON was coming ‘“over this way” by DRlVER. WILSON told DRIVER to
wait until WlLSON made a phone call to “see what’s what.” DRIVER said “he wanted
everything to go right” and that he (DRIVER) would wait on WlLSON’s call. lbelieve that in
this intercepted conversation, WlLSON told DRIVER that he (WILSON) needed to contact the

corrupt CPD officers to see whether they were ready to rob/ extort the drug trafficker. Within two

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minutes after this call, WILSON called .lONES at .l ones Telephone (Wilson Tel. #s 385 and 386),
leaving a voicemail message for JONES to call WlLSON.

62. At approximately 5:29 p.m., DRIVER again called WlLSON (Wilson Tel. #388)
wanting to know if WILSON “heard something” (from }ONES) because his “man” (thc drug
trafficker) has been calling him. WlLSON responded that he had called and left a message for
“him (JONES) to call me back.” DRIVER asked WILSON to call his “man (JONES) again.”
Within approximately one minute of this call, WlLSON called JONES at J ones Telephone,
leaving JONES another message for JONES to contact WILSON (Wilson Tel. #389).

63. Within approximately 2 minutes (at approximately 5:32 p.m.), JONES returned
WlLSON’s calls (Wilson Tel. #390). WILSON informed JONES "that person ready.” JONES
responded_, “now they ready?” After WILSON said “yeah,” JONES replied, “fuek,” and said,
“it’s gonna be a little while now” and “a couple hours at least.” WILSON replied that he would
see if he could “hold it for a couple ofhours.”

64. Within a few minutes after Wilson Tel. #390, there was a telephone call from
J ones Telephone to Flagg Telephone, indicating a call from JONES to FLAGG.

65. At approximately 5:38 p.m., WILSON called DRIVER (Wilson Tel. #392). ln
that intercepted conversation, WlLSON told DRlVER that his guy (JONES) could not do it (thc
robbery/extortion) for a “couple of lrours.” DRIVER told WILSON to get a “specific time”
(when the corrupt CPD officers would be able to conduct the ripoff) so DRlVER could let “him
(the drug trafficker) know.” DRlV E'R commented that the narcotics deal was “a for sure go,”
and indicated that the drug trafficker was “getting it together.” DRIVER told WlLSON to get a

time “so we can uhm, make sure it happens.”

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66. Approximately one minute alter call #392, WILSON called JONES (Wilson Tel.
#393). ln that intercepted conversation, WILSON told JONES that DRlVER wanted a specific
time when JONES would be ready so WlLSON could tell “him” (DRlVER) because “the guy
(the drug trafficker) is ready, and he burning him up.” JONES replied he could be there about
“7:30.” WILSON told JONES that he would tell DRIVER “a quarter to 8” because “you know
it’s out east” and “it’s not around here, it’s down there.” JONES replied, “right . . . over there by
what you got." Given that this ripoff ultimately took place in an alley behind a car wash located
near 83rd Street and Stony Island Avenuc later that night (as described below), l believe that
WILSON was telling JONES that the location of the anticipated ripoff would not be near
WlLSON’s car wash (located on S. Ashland Avenuc, which is the 1600 block west entire south
side of Chicago), but rather will be near another car wash at a location further east (where Stony
Island Avenuc is located).

67. Within approximately one minute after call #393, WILSON called DRlVER
(Wilson Tel. #394). fn that intercepted conversation, WlLSON gave DRIVER the time of about
“`7:30.”

68. Also within approximately one minute after JONES got off of the telephone with
WILSON (Wilson Tel. #393), a call was placed from J ones Telephone to Flagg Telephone,
indicating a call from JONES to FLAGG.

69. At approximately 5:59 p.m., DR,|VER called WILSON (Wilson Tel. #395). in

that intercepted conversation, DRIVER told WILSON that his telephone just went out,13 and

 

UDRl\/ER called WlLSON from a landline telephone ~ (773) 731 -5 521 f which telephone
was subscribed to by a Yolanda Driver at 1639 E. 84“‘ Street in Chicago.

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further said “he (the drug trafficker) said he getting it together” and wanted to see if DRIVER
could “be over there at 7” because the drug trafficker did not want to do the drug deal “too late`”
DRIVER indicated that “he (the drug trafficker) got it,” and he wanted to do the deal at 7. After
WILSON said “they ain’t gonna be there,” and DRl\/ER confirmed that “yo guy (JONES) gonna
be there at 7:30,” DRIVER told WlLSOl\l that he would “stall him” (thc drug trafficker). During
the call, DRIVER told WlLSON to meet him at 84th and Stony island Avenue.

70. Shortly after 6:00 p.m., WlLSON attempted to reach JONES, leaving him a
voicemail message (Wilson Tel. #s 396 and 397). And from approximately 6:00 p.m. and 6:30
p.m., there were approximately 3 telephone calls placed between .lones Telephone and Flagg
Telephone.

71. At about 6:28 p.m., surveillance saw WlLSON leave his car wash and enter a blue
Lincoln. Surveillance followed WlLSON as he drove from his ear wash in a blue Lincoln to
about 8359 S. Stony lsland. At approximately 6:50 p.m., WiLSON parked the blue Lincoln and
waited inside the car.

72. JONES returned WlLSON’s telephone call at approximately 6:31 p.rn, (Wilson
Tel. #398). ln that intercepted conversation, WlLSON informed JONES that he was “heading
over that way now” because they “don’t want to do it too late.” .lOl\lES told WILSON he was on
his way, and WILSON told JONES that he would notify JONES when he (WlLSON) was close
by the location

73. At approximately 6:30 p.m., surveillance saw JONES, who was wearing a #54
Chicago Bears jersey, blue jeans, and a visor worn backwards, enter his Escalade and leave the

Xtreme Sports gym parking lot.

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74. From approximately 6:30 p.m. to approximately 7:00 p.m., there were 3 “direct
connect” connections between l ones Telephone and Flagg Telephone. There was also another
“direct connect” connection between .l ones Telephone and Flagg Telephone at approximately
7‘. 10 p.m.

75. At approximately 6:57 p.m., WILSON received a call from JONES (Wilson Tel.
#401). in that intercepted conversation, WILSON told JONES that he was already at “84“‘ and
Stony Island,” and that he was waiting “on him to be here.” JONES replied, “we on a, 87'“‘ and
Cottage.”14 JONES asked, “you want me to ride through there and fuck with you,” to which
WILSON responded, “well, you could so we could get everything set up.” JONES said, “cool,
I’ll be over there.”

76. At approximately 6:59 p.m., WlLSON received an incoming call from DRl\/ER
(Wilson Tel. # 403). In that call, WlLSON told DRIVER that he (WILSON) was on “84‘]‘ and
Stony lsland” and that “they finna pull up in a few minutes so we can get things all straight,”
referring to JONES and FLAGG arriving at that location so they could further plan the
robbery/extortion WILSON said that he was on “84“‘ and Stony” in a “Lincoln,” and DRIVER
said he would be there in about five minutes

77. At about 7:10 p.m., surveillance saw WlLSON sitting in a light-bluc, four-door

Lincoln with lllinois license plate 4906005 (thc “blue Lincoln”),ls which was located in front of

 

l"As indicated in paragraph 94, later that night at approximately 8:48 p.m., surveillance agents
observed FLAGG exiting JONES’s Escalade in a Walgreen’s parking lot located at 87“‘ Street
and Cottage Grove Avcnue.

15lllinois Sccretary of State records indicated that this license plate is registered to a 1994
Lincoln four-door, and registered to an Elij ah Wilson at 8536 S. Ashland in Chicago.

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8359 Stony Island Avenue. Surveillance then saw a black male wearing a white t-shirt and blue
jeans (believed to be DRIVER)‘(’ get into the blue Lincoln, which then drove around the block.

78. At about 7:13 p.m., DRIVER used Wilson Telephone to call an unknown male
(“Ul\/l”) (Wilson Tel. #406). ln that intercepted conversation, DRIVER indicated that he was
with his “man (WILSON) now, l’m about to pull up on you.” The UM responded, “let me make
this call then, cause it ain’t herc, l’m not with it man, cause you so late.” lbelieve that in this
call, DRlVER told the Ul\/l (the drug trafficker), that DRIVER was almost there, and that Ul\/l
told DRIVER that he would make a call to have the drugs and/or money brought to their meeting
location.

79. At about 7;14 p.m., JONES called WlLSON (Wilson Tel. #408). The ca11 went
into WlLSON’s voice mail1 and no message was lel`t, Within one minute, WlLSON called
JONES (Wilson Tel. #409). ln that intercepted conversation, WlLSON asked if JONES was
“close.” JONES replied, “You want me to come over there? Cause that’s right by the place
though, you know what I’m saying.” WlLSON responded “oh, yeah,” and their told JONES to
go down on “80, um, 4th . . . then we can talk.” The two then agreed to meet on 84th Place.

80. At about 7:15 p.m., surveillance saw WILSON and DRIVER sitting in the blue
Lincoln, which was parked at about 84‘h Street and Stony Island Avenue.

81. At about 7: 19 p.m., JONES called WlLSON (Wilson Tel. #410). ln that call,

JONES asked for WILSON ’s location, and WILSON indicated that he was at 84‘h Place on the

 

"’Law enforcement surveilling this meeting were not able to make a definite identification of
DRl\/ER as the black male who entered WILSON’s car. l believe that the man was DRWER
based on the prior intercepted phone conversation, where DRIVER indicated that he would meet
with WILSON in about five minutes, and later intercepted telephone conversations, where
DRIVER used Wilson Telephone.

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Mmtnde

82. At about 7:29 p.m., surveillance observed the following individuals meeting near
twmmhmwmmmm%MMWUMMUNSWMMMRMMMMAWMUWLMN,
wearing a light-colored cap; JONES, wearing a Bears jersey; a black male wearing a black
wmmmodwmwmm(hmrmmmhmhmFLAGGLamhmmhmbwd<mmewmmngamngwmmt-
shirt and blue jeans (believed to be DRIVER). Based on my experience and training, the
experience and training of other agents and officers working on this investigation, and the
investigation to date, l believe that .l ONES, WILSON, FLAGG, and DRIVER met to discuss
their plan to ripoff the drug trafficker.

83. At about 7:30 p.m., DRIVER used Wilson Telephone to call UM (Wilson Tel.
tMN)lnmmcmLDRBURaMAUHFWwM“mML”mdmeUM(memmpmmdwdmm
DRlVER to “pull to the back, man_, it’s coming,” in an apparent reference for DRIVER to pull
behind a car wash located at SB’"d Street and Stony island Avenue where the drugs and/or money
were “coming.”

84 Atmxmt?35pnhsummdmmmsmeONESanthAGthmsmnemdwkmm
they previously saw wearing the black tactical vest) in a Chevy Caprice, lllinois license plate
N_MHL%3Mw“C@n%Udmm@on&mwkmmwwmmmmeWSnwtTmsw%dwsww
Caprice that FLAGG was seen driving during the .luly 21, 2004 attempted ripoff, which is
described above.

85. At about 7':37 p.m., WlLSON called JONES (Wilson Tel. #413). ln that
intercepted conversation, WILSON said he just talked to him (the drug trafficker), and he told

JONES, “we can go around there now.” JONES responded “Okay, wait a couple of minutes

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before you go around there, then go ahead,” and further stated, “cause we like five minutes

away.” l believe that in this conversation, WILSON informed JONES that he was about to meet

with the drug trafficker where the drugs and/or money would be present, and J ONES told

WTLSON to wait a few minutes so that JONES and FLAGG would have enough time to happen

upon the drug transaction and stage a police stop before the transaction was completed

36.

At about 8:04 p.m., DRIVER used Wilson Telephone to call JONES (Wilson Tel.

#416). The following conversation took place:

JONES:

DRWER:

JONES:

DRlVER:

JONES:

DRl\/ER:

JONES:

DRIVER:

JONES:

DRIVER:

JONES:

DRlVER:

JONES:

87.

Yeah?

Yeah, it’s back here, it’s in the Honda car, well right now they got it all in the car
with us, so, l don’t know how you want to do it. lt’s in the uh, blue Honda car,
the florida car is blocked in though.

Where it’s at? lt’s blocked in?

We blocked in behind the Honda, so . . .

Y’all inside the uh, . _ .

No we just . . .

. . . jeep.

. . . in the, we, we right in the, back of the alley for it.

Okay, you want us to come now'?

Uh, y’all can, so you play it all off`?

Yeah.

Like take, cause it’s in Joe’s car right now though.

Alright. We on our way.

Based on my experience and traiiiing, the experience and training of other agents

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and officers working on this investigation, and the investigation to date, l believe that in this
mwm@mdmmwmmmdDRRURamHONESmmdwdm§ammnmmwymmmnwdmm
were in DRlVER’s and WlLSON’s possession (“n`ght now they got it all in the car with us”_), and
mmDRNTRMm“UBONwmemMymNONHhdeAGGmummmdmmwemmHea
mmdmmepmmemmxbmnimmdkgmwumedmdn@smmmrmomwbynmbmymmmr
extortion. l believe that DRlVER’s question to JONES whether “y’all can, so you can play it all
off`?” indicates that JONES and FLAGG were not planning to conduct legitimate police work,
but rather planned to take the narcotics and/or money for their own (and for WlLSON’s and
DRIVER’s) personal benefit. Moreover, as noted earlier this affidavit, JONES was not permitted
to participate in this type of police activity on August 16, 2004, even if legitimate, as he had been
stripped of his police powers since August 2003. Furthermore, Monday, August 16, 2004, was
scheduled to be a day off for FLAGG. At the time, FLAGG was assigned to a Sunday/l\/londay
“day-off group_,"` meaning that those were the two days he was not scheduled to work. Given
these circumstances, l believe that FLAGG’s and .lONES’s subsequent actions, which are
described below, were not legitimate police actions, but were rather FLAGG and JONES
robbing/extorting drugs and/or money from drug traffickers with DRlVER’s and WILSON’s
assistance

88. At about 8:15 p.m., surveillance located the Caprice, a blue Honda, a dark colored
car which appeared to be a Dodge lntrepid (the “lntrepid”), and another unidentified car parked
together in an alley behind a car wash located near 83rd Street and Stony Island Avenue in
Chicago. Surveillance was able to video record some of what they observed When surveillance

first arrived, the Caprice was parked adjacent to the blue l~londa and the lntrepid, and those cars

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appeared to be blocking in the unidentified car. At one point, surveillance saw FLAGG standing
in front of WILSON, and appearing to conduct a pat-down search of WILSON. Shortly
thereafter, the trunk of the unidentified car was open, and FLAGG was observed moving some
items around inside the trunk of the blue Honda, and conducting a cursory search of the
passenger compartment and trunk of the lntrepid. After searching the blue Honda and the
lntrepid, FLAGG walked away from the cars and in and out of the view of surveillance A short
time later, FLAGG returned to the area of the cars with WILSON, who appeared to be in
handcuffs. FLAGG then put WlLSON in the back seat of the Caprice. During the course of this
“police stop,” a large black male fitting the description of JONES was observed near the vehicles
being searched Shortly after FLAGG put WlLSON in the back seat of the Caprice, surveillance
observed the several cars and individuals at that location leave the area in the following fashion:
a black male wearing a blue shirt and dark-colored pants (who did not appear to be a law
enforcement officer or a person under arrest) entered the lntrepid and drove away on the street
adjacent to the alley that was closest to the surveillance agents; a black male wearing a white t-
shirt with a colored-sleeve (who similarly did riot appear to be a law enforcement officer or a
person under arrest) entered the blue Honda and also drove away on that same street; and the
Caprice (presumably still containing WlLSON) drove away through the alley (tlie opposite
direction from the Honda and lntrepid).

89. Based on my experience and traiiiing, the experience and training of other agents
and officers working on this investigation, and the investigation to date, l believe that FLAGG
was pretending to search WlLSON, the lntrepid, and the blue Honda, in an effort to make it

appear that FLAGG was conducting a legitimate police investigation, and thus a legitimate

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search and seizure of WILSON and any drugs and/or money at that location l also believe that
FLAGG handcuffed WILSON and put him in the Caprice to make it appear that WlLSON had
been arrested as part of a legitimate police investigation

90. At about 8:20 p.m., DRl\/ER used Wilson Telephone to call JONES (Wilson Tel.
#421). ln that call, DRlVER asked if lONES wanted to meet somewhere, and during that call,

JONES handed the telephone to FLAGG":

a * * * =i=
.lONES: What up hoinie?

DRIVER: Shit, l’m over on uh, 84th Place.

JONES: Okay, (unintelligible) it over. This him right here, where the fuck we at?
DRIVER: Y’all want to meet y’all somewhere?

JONES: Uh, shit, we don’t even know where the fuck we at yet, uh . . . .

FLAGG: (Unintelli gib le)

JONES: You in your car right?

DRIVER: Huh?

JONES: Hold on, hold on.

li`LAGG: Y’all good homie?

DRIVER: Yeah l’m good, l’m good (Laughter)

FLAGG: (Laughtcr)

 

]7Around this same time, it appears that FLAGG was trying to reach DRIVER, who then had
possession of Wilson Telephone. The pen register data from Flagg Telephone showed three calls
to 768-2303 and one call to 678-2303 at approximately 8:20 p.m. lt appears that FLAGG did not
dial the proper area code for Wilson Telephone ~ 708 - as these attempted contacts were not
intercepted over the Title lll wiretap on WlLSON’s telephone.

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DRlVER: That’s good . . .

FLAGG: Make it look good for you.

DRIVER: Man, l gotta hollar at you when you get there, hey they supposed to have . .
=l= =l= =l< =l= =l=

DRIVER then gave his location, which he said was on “84th Place,” after which FLAGG said,
“No motherfucker, you got to drive over this way somewhere,” directing DRlVER to “Tuley
Par ” near “90th and King Drive.”

91. At about 8:30 p.m., DRIVER used Wilson Telephone to call JONES (Wilson Tel.
#423). ln that call, DRlVER said “what side y’all on,” by the “tennis court or something,” asking
JONES about JONES’s and FLAGG’s specific location at Tuley Park. JONES replied that they
were “by tennis court.” A couple of minutes later, DRIVER again called JONES (Wilson rfel.
#424). During that intercepted conversation, DRIVER asked where they were at, and then
appeared to see JONES and FLAGG, saying “l’m right here, right behind you, l’m a follow you
out.”

92. At approximately 8:36 p.m., DRlVER made another telephone call from Wilson
Telephone to JONES (Wilson Tel. #426). ln that intercepted conversation, DRIVER asked
JONES if Joe (WILSON) "was coming over this way, by the park.” JONES replied, “1 told him
by, uh, 90‘h and uh, King Drive." DRlVER then said he would “see ifl see him sitting around.”
Based upon the context of this and other conversations, as well as the investigation to date, l

believe that after making it appear that WILSON was placed under arrest by handcuffing him and

placing him in the back of the Caprice, FLAGG later released Wll_,SOi\l, and _lONE-S then

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advised WILSON to meet up with JONES, FLAGG, and DRIVER near 90th and King Drive,
perhaps to discuss and/or to divide the drugs and/or money recovered from the ripoff of the drug
traffickers.

93. At about 8:38 p.m., surveillance saw JONES and FLAGG in the Caprice parked at
about 90th Street and Eberhart, which is located across the street from Tuley Park and near some
tennis courts. Surveillance then followed the Caprice as it drove to an alley south of 90lh Street
and stopped for some time. At approximately 8:41 p.m., surveillance saw a newer Lincoln in the
alley next to the Caprice.

94. At about 8;48 p.m., surveillance saw the Caprice parked next to JONES’s
Escalade at a Walgreen’s parking lot at 87th Street and Cottage Grove Avenue. At about 8:55
p.m., FLAGG was seen getting out of JONES’s Escalade and getting into the Caprice.

95. At approximately 9:47l p.m., JONES placed a call to WILSON (Wilson Tel.
#431). In that intercepted conversation, JONES called WILSON to ask if he was alright, saying
“You all good J`oe?” WILSON responded that he was okay, and told JONES that he might need
JONES’s help the following night: “. . . . You know about like tomorrow and stuff, . . . you know
some others, yeah, we, we, we got something else up tomorrow.” JONES indicated that he
knew, saying, “Yeah, yeah, he told me, he told me, so just let us know.”

D. Attempted Ripo_)jfofat Least 2 Kilograms ofcocairie amf $10,000 by JONES,
FLA GG, and WA LKER art 8029 S. Langley Street (9/4/2004)

Summa ry

96. As described in greater detail below, conversations intercepted over J ones

Telephone revealed that between at least August 30, 2004 and September 4, 2004, WALKER

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provided information to JONES regarding a house that he believed was storing 310,000 to
$20,000 in cash (“10 to 20 on the cash side”) and two to five kilograms of cocaine (“two to five
on the other side" or “on the book”). JONES initially understood that the house was located at
7939 S. Langley, but WALKER later informed .IONES that the house was located at 8031 S.
Langley. During their conversations, WALKER provided other in formation about the target
rmmmmemmdmpammhvmgmmdhwwdmgmmdnwmbymemnmmmofmmkmmmn
Among other things, WALKER informed JONES that one of these cars was a red Alero, and
WAUGRmeEdKBESwmwhwmmmmmmmwmmdmmmfwmnKDUSkmmdd
mmmmmngm&mnWAUGRJONBGMMHCAGGWswkmwmmmmemdwnm&
FLAGG and JONES discussed various ways to get into the residence, including breaking into the
house and finding the owner and “taking his keys.” JONES also relayed to FLAGG various
information about the drug dealer living at that location, including information about the cars
mhmnbydmtmngdmmn.Atkamsunm&smvmhmweobwnmdFLAGGdobedmddngom
the location, and on September 4, 2004, surveillance saw FLAGG stop a red Alero with the same
license plate number that had been provided by WALKER. FLAGG removed the female driver
of the vehicle from her car, placed her in the back of his unmarked police car, and subsequently
emmwam$®mmmumdm£@9SLm§qhmhmm®nmmmmmmwwmw&%mmmcM,
HAGGmMKDESmmhmmdWAUURWU€UWMnmmHm&H§mmmmmdmmewm
8029 S. Langley, not 8031. FLAGG further explained that he had taken the keys from the
woman who lived at 8029 S. Langley, went upstairs into her unit, and that there were no drugs or

money in it.

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August 30, 2004

97. On August 30, 2004, at approximately 9:01 p.m., JONES received an incoming
telephone call from WALKER (J ones Tel. #546). During the course of their conversation,
WALKER and JONES discussed a location on the east side of the city. WALKER asked if
JONES was “ready” and told JONES that there may be “l 0 to 20 on the cash side” and “two to
five on the other side.” JONES asked, “On the book?,” and WALKBR said yes. Based upon the
context of this and other conversations, as well as the investigation to date, l understand that
WALKER told JONES about a residence that was located on the east side of Chicago, which
residence would contain approximately 310,000 to $20,000 (“10 to 20 on the cash side”). l also
understand JONES’s reference to “book” to be a reference to a kilogram of cocaine, and thus,
that WALKER told JONES that the residence would also contain two to five kilograms of
cocaine WALKER further told .lONES that another person had “been in there," but did not
know the specific location of the drugs or money in the residence, and that thc person who lives
at the residence carries no less than three to five “dollars” on him on the “stack side” ($3,000 -
$5,000). When JONES asked WALKER about the address of the residence, WALKER told
JONES he would get back to him with that address

98. At approximately 9:23 p.m. that same night, JONES called COREY FLAGG
(Jones Tel. #561). During their “push-to-talk” (“PTT”) or “direct connect” conversation, JONES
told FLAGG about “something over east” and further told FLAGG about “five of them.”
FLAGG asked JONES if it was “brick” and where they were located, and the two of them agreed
to discuss the matter further. Based upon the context of this and other conversations, as well as

the investigation to date, l understand the reference to “brick” to be a reference to a kilogram of

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coeaine, and that in this call JONES told FLAGG about a location where there were
approximately five kilograms of`cocaine that they could attempt to steal.
Mtn

99. At approximately 12:08 p.m. on August 3 l, 2004, JONES and FLAGG talked via
PTT (.`l`ones Tel. #600-602). During these eonversations, JONES told FLAGG he had the
information FLAGG was wondering about, referencing a prior conversation between the two, but
did not want to give the address over the telephone FLAGG asked JONES, “ls it there right
ncw?” JONES told FLAGG it was and discussed the location inside the residence where the
drugs and money might be hidden. JONES further told FLAGG that an unknown male and his
girlfriend stay at the residence and that the unknown man was out driving FLAGG asked if this
person was driving around with it and JONES said, “No, it’s (the eocaine) in the crib.” FLAGG
then asked if it was inside a “spaee” or something JONES told FLAGG he did not know where
it (the cocaine) was located inside the residence FLAGG then told .TONES he would rather
“grab dude on the street and walk him in the house,” meaning that FLAGG preferred to enter the
residence by grabbing the ripofl` victim on the street and then gaining entry into his house.
JONES told FLAGG he was getting off of work at approximately 1100 p.m., and the two agreed
to meet at JONES’s residence when .lONES got off of work. Based on my experience and
training, the experience and training of other agents and officers working on this investigation,
and the investigation to date, lunderstand that JONES and FLAGG were discussing where drugs
and narcotics were located in the residence they were planning to rob, and how FLAGG wanted
to enter that house l further understand that FLAGG’s reference to a “space” inside the

residence to be a reference to a trap or a concealed area, as l am aware that narcotics dealers, in

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an effort to conceal their criminal aetivity, routinely hide narcotics and money in hidden
compartments inside of vehicles and residences

100. At approximately 12115 p.m. that same day, FLAGG contacted JONES via PTT
(J ones Tel. #603). JONES told FLAGG that “his broad, she get down, too,” and that this person
“be on the business too,” FLAGG asked her location and .lONES told him she was at work.
FLAGG then asked if anyone was home, and JONES told him no, After FLAGG inquired as to
the address, JONES said “7939 Langley.” JONES further told FLAGG that the person who lived
there carried “a nice little load” in his ear, but that everything else was upstairs in the residence I
understand that in this call, JONE'S told FLAGG that the person who lived at 7939 S. Langley
had a girlfriend who Was also involved in the drug trade, and that person who lived at this
Langley address stored drugs and/or money in both his vehicle and residence

lOl. At approximately l2:l6 p.m. that same day, JONES and FLAGG talked via PTT
(J ones Tel. #604). During their conversation, they discussed that the man who resided at 7939 S.
Langley drove a red Lexus automobile and spent time on the south side of Chieago. FLAGG told
JONES that he was going to drive by the residenee, which JONES indicated was on the second
floor of 7939 S. Langley. l

102. At approximately 12:22 p.m. that same day, during a PTT conversation (J ones
Tel. #606), FLAGG instructed JONES to “fmd out if anybody know where they could find him
at right now,” which I understand to be an instruction for JONES to find out the present location
of the drug dealer living at 7939 S. Langley. JONES told FLAGG that he had already talked to
someone (presumably WALKER) and that he did not know the drug dealer’s whereabouts

J'ONES added that the drug dealer drove a red Alero and a grey Lexus automobile JONES also

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asked if FLAGG was going to go in “now,” indicating that JONES wanted to know if FLAGG
was going to enter 7939 S. Langley immediately

103. At approximately 12:23 p.m. that same day, during a PTT communication that
was a continuation of the above-referenced conversation, FLAGG told JONES he felt like
entering the residence now (J ones Tel. #607). JONES told FLAGG, in part, “If motherfuckers
see it, it ain’t gonna look right.” l believe that in this call, JONES told FLAGG that if FLAGG
entered the residence at that time by himself, and people in the neighborhood saw him do so, that
it would not look like legitimate police activity. FLAGG further told JONES that he had driven
past the location and did not see the man, referring to drug dealer who they believed was living at
7939 S. Langley.

104. At approximately, 1224 p.m., lONES and FLAGG engaged in a series of PTT
conversations (J ones Tel. #608-616). JONES told FLAGG he was unaware of the man’s (the
drug dealer’s) location, but stated that he was out on a 515,000 hond. JONES reiterated to
FLAGG that this individual drove a red Oldsmobile Alero and a grey Lexus. FLAGG asked
JONES how sure he was of the “five” (_five kilograms of cocaine) and JONES said that “Lance”
said between “two and five” (kilograms of eocaine), and “between fifteen and twenty on the
other side” ($15,000 and 320,000) in the residence FLAGG and JONES then discussed the
appearance of the building FLAGG asked JONES who provided him the information about the
house, and JONES indicated that it was “Quick” (WALKER), leading me to believe that the
individual referred to as Lance provided the information about the house to WALKER, who in
turn provided it to JONES.

105. At approximately 12:29 p.m. that same day, FLAGG contacted JONES via PTT

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(J ones Tel. #617). FLAGG told JONES that he was “going to have to stop him on the streeter
type it up . . . that’s the only two ways so we got to look for his ass,” indicating to JONES that in
order for FLAGG to enter the house he was going to need to find the drug dealer who lived at
7939 S. Langley and have this individual let him in the residencc, or he (FLAGG) was going to
have to obtain a search warrant

106. At approximately l:l4 p.m. that same day, FLAGG contacted JONES via PTT
(J ones Tel. #624) and directed JONES to come to his house for a meeting At approximately
12:55 p.m., surveillance observed JONES leave the CPD ARS Unit, enter his Cadillac Escalade,
and at approximately 1;29 p.m., surveillance observed JONES arrive at and enter FLAGG’s
residence, located at 9418 S. Wabash.

107. At approximately 6119 p.m. that same day, .IONES contacted FLAGG via PTT
(J ones Tel. #649). FLAGG told JONES that he was “free” and JONES told FLAGG, “let me tell
him to call.” l understand that in this call, FLAGG told JONES he was available to commit the
ripoff on S. Langley and JONES responded that he was going to direct another person,
presumably WALKER, to contact the man who lived at the S. Langley address to see if he was
horne

108. At approximately 6:24 p.m., during a PTT conversation (.l ones Tel. #652)
between FLAGG and JONES, JONES said that he was waiting for a return call. FLAGG
indicated that he was going to drive by the residence and see if the ma.n’s (drug dealer’s) car Was
there.

109. At approximately 6:30 p.m., during a PTT conversation between FLAGG and

JONES (Jones Tel. #656), JONES asked FLAGG if he was heading to the residence, and

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HAGGWMMMMHNw%@WNHMMHMHmWB@myowdmemmmmwmm
instructed FLAGG to let him know what it (the residence) “looked like.”

110. At approximately 6:35 p.m., surveillance observed FLAGG drive by 7939 S.
Lm@kymaChmnmumnmkmpmkeQuwnhmemmdmmmemmenmpahmwn

lll. At approximately 6:36 p.m., FLAGG and JONES engaged in a continuing PTT
conversation (Jones Tel. #658, 659, 661, 662, 663, 665, 667) during which FLAGG told JONES
that he did not see either vehicle located near the house on S. Langley and that there were
numerous people on the strect. JONES told FLAGG that his “broad” (the girlfriend) might be
inside the residence, and FLAGG responded that the girlfriend would have to drive a car and that
FLAGGcomdanddwrmn@wmwrmemdAwnnmrmegmyL@mm.

112. At approximately 8:42 p.m. that night, surveillance observed FLAGG driving
down the alley located behind 7939 S. Langley

September 1, 2004

ll3. On September l, 2004, at approximately 8:05 p.m., FLAGG and JONES engaged
in a series of PTT conversations (J ones Tel. #735, 737_). During their conversations, FLAGG
asked if JONES had heard anything else JONES said he had not and that another person “was
asking if we went over there.” FLAGG told JONES he was just about to go to the residence and
JONESUMdFLAGGkavahsmme.whmemtwwdwtmommhmkmupdmugf’FLAGG
told JONES he might “go in there right now, but there’s too many fuekin’ people out here if its
negative.” lunderstand that in this call, FLAGG and JONES discussed FLAGG going to ?939 S.
mewymrmemnmm%ofmwmmmgmswddmgmnmmmyhmnmmr%mmwelhnmm

understand JONES’s comment that you “hate to type that motherfucker up though” to mean that

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JONES did not want to obtain a search warrant, and FLAGG’s reference to “too many people” to
mean that FLAGG was concerned of being seen by people on the street if FLAGG were to enter
the house and not recover any drugs or money

ll4. During this same continuing PTT conversation, FLAGG told.lONES he was
going to walk and see if the “door was open.” .lONES told FLAGG to let him know if FLAGG
actually intended to enter the residence, because JONES would then come to the area. FLAGG
then said, “if this bitch beefs, she goin’ to jail like a motherfucker,” apparently referring to the
girlfriend of the man who lived at the residence l understand FLAGG’s reference to the
girlfriend to mean that if she was present and started to complain about FLAGG’s illegal entry
into the residence he was going to arrest her.

ll§. Within ten minutes that same night, at approximately 8112 p.m., during a PTT
conversation (J ones Tel. #742, 743) between FLAGG and JONES, FLAGG told JONES that
there were “t`oo many doors to get through” to get into the residence describing those doors to
J`ONES. JONES told FLAGG they would have to wait for the man to come home and “take his
keys.” At one point FLAGG responded, “fuck that . . . ]` should just hit this motherfucker.”

116. During this continuing PTT conversation, JONES asked if FLAGG was by
himself, and FLAGG told JONES that he was not. JONES then asked “your man?,” to which
FLAGG replied no. JONES then told FLAGG he was coming towards his area. At
approximately 8:30 p.m., surveillance observed FLAGG parked in his unmarked squad car on the
corner of 80th and Langley. Present in the vehicle with FLAGG was an unidentified man.

September 2, 2004

ll'?. On September 2, 2004, beginning at approximately 2132 p.m., JONES and

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WALKER engaged in a continuing PTT conversation (J ones Tel. #763, 771, 772, 775, 777, 778,
780, 784,785, 786). During this conversation, JONES asked WALKER if he was sure ofthe
address being “8031,” and WALKER indicated that JONES was correct JONES informed
WALKER that they were not going to enter the residence, but instead wanted to see the man who
used the residence WALKER said that one of the vehicles should be in front of the residence
that night. l understand that in this conversation, WALKER and JONES were discussing the fact
that the actual address of the robbery target was 803l S. Langley and not 7939 S. Langley, which
WA_LKER communicated to JONES through the reference to “8031.” JONES then expressed his
displeasure about learning of this different address, telling WALKER, “you got me looking
fucked up on this man” and further stating “we came up with a little story for this shit . . . now
we got to figure out how the fuck we gonna tell this motherfuckin’ sergeant it’s the wrong
address.” l understand that in this call, JONES told WALKER that he (and FLAGG) had come
up with a “story” to tell their sergeant about the residence they were going to ripoff, and that now
they would have to now come up with another story to explain to the sergeant why JONES was
now turning his attention to 8031 S. Langley rather than 7939 S. ]_,angley.18

118. During this same PTT conversation, JONES explained to WALKER what he and
FLAGG had told their sergeant and how they wanted to approach the residence, telling
WALKER that he and FLAGG had told the sergeant that there was a trap in the residence and
that they wanted a dog to search the residence first and before they cntered. JONES explained

that at that point, “me and FLAGG will go in the motherfucker and pop everything, then

 

18On several occasions during the wiretap interceptions over .T ones Telephone, including this
conversation, JONES relayed information to WAT,,KER apparently leading WAL-KER to believe
that JONES Still had police powers.

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everyone can come in.” Based upon my training and experience the training and experience of
other officers working on this investigation, and the context of these eonversations, l believe that
in this conversation, JONES was explaining to WALKER how he (JONES) and FLAGG would
be able to steal drugs andjor money from the residence which would be accomplished by JONES
and FLAGG entering the residence before other law enforcement officers did so, which would
allow them time to steal any drugs and/or money.

l 19. During this continuing PTT conversation, WALKER and JONES further
discussed the story JONES would have to provide to JONES’s sergeant given the new
information WALKER was providing about the ripoff target. WALKER told JONES that he
should explain to his sergeant that an informant gave him the wrong address, and that real
address was only one block down. JONES again commented that he had told his sergeant that
his informant had observed a trap in the residence and now he had to think of some “script” (lie)
to explain the new information about the location WALKER told J`ONES to explain to his
sergeant that it was simply a “inis-communication.” JONES replied that WALKER was not the
police indicating that WALKER does not know how “these motherfuckers (the police) be
thinking.” WALKER commented that he was only relaying the information he was givcn,
indicating that another individual was actually providing the information about 8031 S. Langley,
and that WALKER was simply passing this in formation onto JONES.

120. JONES then told WALKER during this continuing PTT conversation that he
wished WALKER had “seen the shit” himself because they were going to kick in the door
several days ago. JONES complained to WALKER that if they had gone into the wrong address,

it could have been a serious complaint if an old woman was living there. WALKER later asked

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JONES if he wanted to leave this one “alone” and wait until the next one (the next ripe ff target)
because WALKER had some more information concerning drugs JONES replied that he did not
want to leave this one alone saying “l’m gonna get this motherfucker.” WALKER reiterated to
JONES that he now had the correct address19
M
l2]. On September 3, 2004, at approximately 9:32 a.m., WALKER received a call
from JONES (.l ones Tel. #819). During their conversation, WALKER provided JONES with a
specific license plate number, telling JONES that the plate belonged to the red Alero that was
being driven by one of the individuals living at the 8031 S. Langley address.
September 4, 2004
122. On September 4, 2004, at approximately ll:36 a.m., FLAGG called JONES
(J ones Tel. #878). During their conversation, FLAGG said that he had been “out there for five
hours, three hours yesterday and two hours today.” FLAGG told JONES that he observed “her
car” yesterday, but she never left the residence on Langley. l understand that in this call, FLAGG
informed JONES of the surveillance FLAGG was conducting on thc residence on Langley Street.
123. At approximately 12:20 p.m. that day, FLAGG called JONES (J ones Tel. #889).
During this conversation, FLAGG and JONES again discussed the 8031 S. Langley address.
JONES asked about the location of FLAGG’s team, and FLAGG told JONES he was going to

meet them. FLAGG then told JONES he did not want to “hit the house” but would prefer to see

 

19During this September 2, 2004 PTT conversation, WALKER also asked JONES to run an
lllinois license plate for a another woman, which JONES agreed to do. lt is my understanding
that CPD law enforcement personnel are not permitted to provide such police information to
civilians.

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the individual who lived there and run his car plate to see if it came back to the suburbs. JONES
then told FLAGG, “There’s something in there.” FLAGG also told JONES that he had talked to
the Assistant State’s Attorney (“ASA”)_, and told the ASA that he (FLAGG) had driven his
informant by the location and that the houses looked the same. FLAGG explained to JONES that
the ASA advised FLAGG to reword it (the search warrant affidavit) and send it back.

124. At approximately 2:15 p.m., surveillance involved in this investigation observed
FLAGG driving his Chevrolet Caprice in the vicinity of 8050 S. Langley. FLAGG activated his
emergency lights and stopped a red Oldsmobile Alero bearing the same license plate number that
WALKER had provided to JONES. Surveillance observed FLAGG exit his vehicle and take an
unknown black female (the “UF”) who was driving the Alero and place her in the baekseat of his
Caprice FLAGG then departed the area in his Caprice with the U.F. At approximately 2:17
p.m., surveillance observed FLAGG parked at approximately 8150 S. Cottage Grove Avenue,
where FLAGG was having a conversation with the UF in the rear of his vehicle At
approximately 2135 p.m., FLAGG parked his vehicle at 8029 S. Langley and was observed
meeting with several other CPD oflicers. Surveillance observed FLAGG enter 8029 S. Langley
and talking on his cellular telephone at approximately this time The UF remained in FLAGG’s
Caprice until she was released several minutes later.

125. Beginning at approximately 2139 p.m., FLAGG contacted JONES and the two
engaged in a continuing PTT conversation (J ones Tel. #901, 902, 904). FLAGG told JONES
“you all some stupid motherfuckers,” and further explained that the “motherfucking house was
8029” and that there was “shit in there, nothing,” indicating that JONES and WALKER had

given FLAGG the wrong address and that FLAGG found no drugs or money inside the address

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he did enter. FLAGG further told JONES that the individual they were looking for did not even
live at that location, and FLAGG expressed displeasure that they went into the wrong house
During this conversation, J`ONES asked FLA`GG °‘you didn’t do a search warrant did you?”
FLAGG told JONES “no,” and explained that he took the keys from a woman at that location
and went upstairs into 8029 while his sergeant waited outside FLAGG further told JONES that
there were two red Aleros on the block. JONES indicated that he would call WALKER and tell
him the address was incorrect

126. At approximately 2:43 p.m. JOl\lES called WALKER (_l ones Tel. #907). JONES
said that WALKER should tell his “homie” the address is 8029, that the mother and brother live
there, and that there was nothing in the house After WALKER asked what happened, JONES
replied that a woman had pulled up, her keys were taken from her and the police entered the
residence JONES further told WALKER that a mother and brother lived there and that the
address was 8029 (S. Langley) not 8031. JONE-S further told WALKER that there were two
Aleros parked in the vicinity of the house Shortly after this call ended, JONES again called
WALKER (J ones Tel. #909) and complained about WALKER’s bad inforrnation, telling him, “l
can’t fuck with it unless you’ve seen it yourself . . . . I can’t go through your hornie.” WALKER
again asked what happened and JONES told WALKER that the sergeant was with them and
everything was “fucked up.” JONES said that “dude don’t live there dude ain’t been there for a
fucking month.” WALKER told JONES he was going to call the individual who gave him the

bad information and JONES told WALKER that FLAGG was “pissed.”

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E. Conversations Among JONES, FLA GG, WALKER, and Otliers Regarding a
Ripoj]"ofat least 3 Kilograms of Cocaine and Guns at 263 il S. Troy Street (9/2-
7/04)

Summary

127. fn early September 2004, conversations intercepted over J ones Telephone
revealed that CPD Officers .lONES and FLAG'G, and JAMES WALKER, were plotting to ripoff
at least three kilograms of cocaine (a “trey piece”) and guns (“ninas” or “thumpers”) from a
house located at 2631 S. Trcy Street in Chicago. As described in greater detail below, the
intercepted conversations reveal that a drug associate of WALKER was negotiating a drug
transaction with an individual who sold drugs from that Troy Street address, that WALKER
passed this information along to JONES to enlist the help of corrupt police officers to take drugs
and other contraband from that locationJ and that JONES turned to FLAGG for that assistance
lntercepted conversations and surveillance further revealed that JONES, FLAGG, and WALKER
took steps toward committing this robbery/extortion As described in subsection F, however,
another robbery target was brought to JONES’s attention, which diverted JONES’s and
FLAGG’s attention froin the Troy Street ripoff to another ripo ff opportunity

128. At the time that JONES, FLAGG, and WALKER were discussing their plans to
commit the ripe ff at 2631 S. Troy, JONES received a telephone call from another CPD officer,
DAREK HAYNES. HAYNES communicated to JONES his interest in participating in a ripoff
with JONES. DAREK HAYNES did in fact do so, but not until several days later when he
assisted in the attempted ripoff at 3420 W. 83rd Place which is described below in subsection F.

Se tember 2 2004

129. On September 2, 2004, at approximately 11:35 p.m., WALKE-R contacted .TONES

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(J ones Tel. #803). WALKER told JONES he had some more "‘moves” for him. WALKER’s
“man” told him of an address on 26th Street where some individuals were “putting a call in on
the order side.” WALKER’s source of information was going to call back and confirm the
address. WALKER further told JONES it was for a “trey piece.” I understand that in this call,
WALKER was telling JONES about another residence that JONES could attempt to rob, and that
WALKER knew of sonre people ordering drugs from that location (“putting a call in on the order
side”) and that this order was for three kilograms of cocaine (a “trey piece").
September 4, 2004

130. On September 4, 2004, at approximately 6119 p.m., FLAGG called JONES (Jones
Tel. #923). During the course of the conversation, JONES and FLAGG discussed FLAGG’s stop
of the woman outside 8029 S. Langley, and FLAGG told JONES that the woman at the residence
was going to file a complaint against him. JONES and FLAGG then discussed another robbery
target JONES told FLAGG he had “a for sure one” located near 26th Street. JONES told
FLAGG that an individual had “placed an order” (for drugs`), and JONES assured FLAGG that
it’s “guaranteed” and that “dude won’t call him back until be got it.” JONES then described to
l'"LAGG how narcotics were dealt out of this 26lh Street residence explaining that after the order
is placed, somebody brings drugs to the 26th Street residence as the drug dealer working out of
that location (the “26th Street Dealer”) did not normally keep drugs in the house JONES and
FLAGG agreed to discuss this matter further, and JONES indicated that he did not want to do
this ripoff the next day because FLAGG was not working

131. A few minutes later, at approximately 6:25 p.m., JONES contacted WALKER

(J ones Tel. #924). JONES told WALKER that it (the 26lh Street ripoff) "nright be able to

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happen tomorrow,” and WALKER indicated that he would have to call another individual before
letting JONES know. JONES instructed WALKER to call him.

132. On September 4, 2004, at approximately 7:45 p.m., JONES called WALKER
(J ones Tel. #930). WALKER told JONES that “they,” referring to the individual who had
previously placed the order for drugs, had already done it and didn’t want to “spook” them (by
placing an order for more drugs). WALKER told JONES that another individual had also
purchased narcotics from that same 26"‘ Street Dealer that day. JONES and WALKER agreed to
discuss further robbing that location

133. At approximately 7:47' p.m. that night, JONES contacted FLAGG (J ones Tel.
#931). During this conversation, JONES told FLAGG that it (a drug deal involving the 2thl
Street Dealer) was not going to occur that day because they did not want to scare that individual.
JONES further indicated that it was set up for the following Tuesday between 12:00 and l:00. ln
addition, FLAGG and JONES continued to discuss events relating to the attempted ripoff at 8029
S. Langley FLAGG stated that FLAGG’s sergeant asked FLAGG about the source of FLAGG’s
in formation, apparently referring to the person providing the information about the 8029 S.
Langley address Without identifying him by name JONES told FLAGG that he had met him
(the individual who provided the information on 8029) several times; JONES further told
FLAGG that this person knew another individual who supplied guns to a neighborhood near
103“" Street. At one point, FLAGG told JONES that people only complain against you for doing
a search without a search warrant when you don’t find anything and the two of them (FLAGG
and JONES) continued to discuss FLAGG’s sergeant, commenting that the sergeant had

questioned FLAGG in the past about FLAGG doing searches without a warrant.

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134. On September 04_1 2004, at approximately 10:36 p.m., DAREK HAYNES called
JONES (Jones Tel. #944). During this conversation, HAYNES told J`ONES he was “hurting.”
JONES told HAY`NES he was “trying right now.” JONES told HAYNES he needed to be
“looking” as well, and HAYNES told JONES that he was. JONES told HAYNES as “soon as l
get something its all good, l got you.” l understand that in this conversation, HAYNES was
telling JONES that he was in need of money JONES replied that he was trying to set up a
robbery, that HAYNES too should be looking for a robbery target, and that JONES would
contact HAYNES as soon as JONES had a target set up.

EMZ

135. On September 6, 2004, at approximately 10:36 p.m., WALKER called JONES
(.l ones Tel. #1046). During their conversation, WALKER said that everything was “conlirrned`1
for the following day. WALKE,R told JONES there might be a “box of ninas (nine millimeter
handguns) in there” and that drugs were going to be located in the residence After JONES said
that he did not have the address, WALKER replied “2631” and later gave JONES the name of a
person Who lived at that address. WALKER further told JONES that “everything should be
upstairs” and that a good time would be between l 1 :00 a.rn. and l:00 p.m. the following day.
When JONES asked WALKER what time they should “go in there” WALKER stated, “he said
12:00” would be a good time indicating that the person who was providing WALKER with
information about the 26th Street address had told WALKER that 12:00 p.m. would be a good
time for JONES and FLAGG to enter the residence to take the drugs and guns.

136. A few minutes later that same day, at approximately 10:44 p.m., JONES called

WALKER (J ones Tel. #1049). ln that call, JONES asked if “dude ain’t gonna think his man told

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on him“ (the person who they were going to attempt to rob wasn’t going to think someone had
set him up). WALKER told JONES no, explaining that “they told me to do it like this.”
WALKER further told JONES that everything was going to be upstairs including the “thumpers”
(guns). WALKER then told JONES to “pull me one if you can,” meaning that if JONES
recovered guns from the residence WALKER wanted JONES to give one of them to WALKER.

137. On September 6, 2004, at approximately 10:52 p.m., JONES called FLAGG
(J ones Tel. #1053) and left a message that FLAGG needed to make sure they “hooked up”
tomorrow at “12:00” because “it’s all good.”

September 7, 2004

138. On September 7, 2004, at approximately 10:09 a.m., JONES called WALKER
(J ones Tel. #1066). During their conversation, JONES and WALKER discussed how
WALKER’s “man” normally conducted his drug deals with the 26“‘ Street Dealer, and JONES
asked how WALKER’s “man” was going to act so JONES would know what “role to play.”

139. At approximately 10:14 a.m. that same day, WALKER called JONES (J ones Tel.
#1067'). ln that call, WALKER said that his contact claimed to have conducted drug deals in the
garage at 2631 on several occasions, that his contact had also gone through the garage into the
house to conduct drug deals, and that his contact would normally call and then go to the
residence WALKER explained that he told his contact not to do anything “unusual.”
WALKER then instructed JONES to call him (when JONES was ready to do the ripoff), and
explained that once he (WALKER) heard from .1 ONES, he (WALKER) would tell his contact to
call the 26lh Street Dealer 15 minutes later to go ahead with the drug deal. JONES asked

WALKER who else would be present at the residence and WALKER said he would find 0ut.

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140. At approximately 10:19 a.m., WALKER called JONES (Jones Tel. #1069). ln
that call, WALKER appeared to be providing JONES additional details about the ripoff target,
telling JONES that the targct’s 20-year old younger brother and the mother were downstairs at
the 2631 residence and that no one lived upstairs.

141. At approximately 10:36 a.m. JONES called FLAGG (Jones Tel. #1071). During
the conversation, FLAGG asked what time it was “going to happen” (when the attempted robbery
Would occur), and JONES said about 12:00 p.m. FLAGG told JONES he was in court but could
get away for a minute,

142. At approximately ll:03 a.m., JONES contacted WALKER and they had a PTT
conversation (J ones Tel. #1074, ]075). JONES and WALKER confirmed that the address was
“263 l” and the street is a four-letter word that rhymes with “toy” (Troy). Based upon my
experience the context of these conversations, and the investigation to date l believe that in this
call JONES and WALKER were confirming that the address of the ripofftarget - i.e., the
location used by the 26“‘ Street Dealer to conduct drug transactions a was 2631 S. Troy, which is
located on the south side of Chicago. l also believe that in this call, JONES and WALKER were
reluctant to say the actual street name over the telephone for fear of possibly being overheard by
law enforcement lt is my belief that had this been legitimate law enforcement activity, JONES
would not have been reluctant to say the street name over the telephone

143. At approximately 11130 a.m., surveillance observed JONES leave the offices of
the CPD ARS Unit located at 2111 W. Lexington and enter his champagne-colored Cadillac
Escalade.

144. At approximately 11:32 a.m., WALKER called JONES (Jones Tel. #1076). ln

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that call, WALKER told JONES that one of the individuals involved in the expected drug deal
was in DUl school, and that person was supposed to call WALKER’s “man” as soon as DUl
school ended. WALKER told JONES it was still a “green light” (the drug deal would still occur)
but WALKER was unsure if “everything would be there” (drugs would be present) until he got
out ofDUl schoolJ which`was supposed to happen at about 2:00 p.m.

145. At approximately 11:48 a.m., surveillance watched _lONES drive his Cadillac
Escalade down the 2600 block of S. Troy and then go through the alley behind 2600 S. Troy.

146. At approximately 11:51 a.m., JONES called WALKER (Jones Tel. #1079).
JONES asked WALKER if “it’s already there” (JONES wanted to know if narcotics were present
at 2631 S. Troy). WALKER said he did not know. JONES indicated that he wanted to wait for
the individual to arrive (at 2631 S. Troy) and to walk with him in the house After JONES told
WALKER he was in the vicinity of that address, WALKER advised .lONES that they wanted to
wait.

147. At approximately 11:53 a.m., JONES called FLAGG (Jones Tel. #1080). ln that
call, JONES said that he was in the vicinity of the address, but that the man was in DUI class and
would not be getting out until later that afternoon FLAGG asked .lONES if the location looked
“easy” and JONES said that it did. l understand FLAGG’s reference to “easy” to mean that
FLAGG was curious of the ifthe residence looked like it Would be “easy” to break into or an
otherwise “easy" target for a ripoff.

148. At approximately l2:04 p.m., surveillance observed .TONES drive past 2631 S.
'l`roy in his Cadillac Escalade before going to the Cook County Courthouse police parking lot

located on the corner of 26th Street and California Avenuc.

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149. At approximately l:lS p.m., JONES and WALKER engaged in a P'l"f
conversation (J ones Tel. #1085). Durin g this conversation, JONES told WALKER that they only
had one more hour or they would have to “roll,” meaning that if they did not get into the house at
2631 S. Troy in the next hour, then they could not do the ripoff. WALKER agreed

150. At approximately 1:35 p.m., JONES called FLAGG and told him he was going to
go to a McDonald’s restaurant, where FLAGG agreed to meet JONES (J ones Tel. #1089). At
approximately 1:36 p.m., surveillance observed JONES, driving his Cadillac Escalade and
FLAGG, driving his unmarked Chevy Caprice leave the vicinity of 26th Street and California
Avenue. The two vehicles entered a McDonald’s parking lot located at Kedzie Avenue just
south cf 261h Street. Surveillance observed FLAGG exit his vehicle and enter the passenger side
ofJONES’s Escalade in the parking lot.

151. At approximately 2:00 p.m`, JONES called WALKER (J ones 'l`el. #1093). In that
call, WALKER told JONES that “he didn’t call me” (indicating that the person who was going to
buy narcotics from the 26th Street Dealer had not called WALKER to advise that the drug deal
would happen). JONES said that it (the drug deal and ripoff) was not going to happen, and
WALKER agreed

152. At approximately 2:03 p.m., WALKER called JONES (Jones Tel. #1094), telling
JONES that his guy had just called and that “dude” was just leaving (leaving DUI school) and
“didn’t have it (thc drugs) there (at the 2631 Troy house).” WALKER added that it may be ready
by 3:30 p.m. (the drug deal might take place at 2631 S. Troy at 3:30 p.m.). JONES replied that
he might be unable to make it at that time WALKER also said that his man wanted

confirmation that drugs were located at that residence before JONES went into the house because

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they “don’t want the gun to get jumpcd,” meaning that the individual working with WALKER in
setting up this drug ripoff wanted to make sure that the drugs were at that location before
directing the corrupt CPD officers (JONES and FLAGG) to enter the house and seize the drugs.

153. At approximately 2:07 p.m., JONES called WALKER (.l ones Tel. #1095), telling
WALKER “it (the drug ripoff) ain’t gonna happen” because “we gotta go do a search warrant.”
JONES expressed disappointment for not being able to do the ripoff saying “this shit was so
sweet” because it was “nice and quiet” and no one was on the “block” and the doors Were “easy.”
l understand that in this conversation, JONES was expressing his disappointment for not being
able to conduct the drug ripoff at 2631 S. Troy, especially because it would have been an easy
target given the quiet nature of the street and the easy access doors on the house which would
have allowed the corrupt officers to conduct the drug ripoff quickly and without calling undue
attention to themselves WALKER responded to JONES’s statements, saying “we might have to
pull this motherfucker ourselves then,” indicating that WALKER might have to conduct the
ripoff on his own (without the assistance of JONES and other corrupt police officers).

154. At approximately 2:56 p.m., WALKER called JONES (lones Tel. #1103) and
asked him if they could do it (the ripoff) at 6:00 or 6:30 p.m. JONES told WALKER he would
find out and call him back. About one minute later, .lONES contacted FLAGG (J ones Tel.

#1 104) and asked him ifhe would be available at 6:00 or 6:30 p.m. FLAGG told JONES he did
not know because he did not know what his work schedule was. JONES then called WALKER
(at approximately 2159 p.m., Jones Tel. #1106), informing him (WALKER), that they were not
going to be able to do the ripoff that day because they (JONES and FLAGG) could not get “the

car." JONES further stated that if he called somebody else there would be “two of them" and

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that would “fuck up” the “split.” Based upon the context of this conversation and the
investigation to date l understand JONES to be telling WALKER that he could not perform the
ripo ff that day because he could not obtain a police-style vehicle especially given that JONES
could not ensure that he would have FLAGG’s assistance Such a police car would be important
in conducting the planned ripoff in order to create the false appearance that drugs were seized
during the course of legitimate police activity When discussing the “split,” it is my
understanding that JONES was advising WALKER that if he tried to get another car, that would
likely bring two additional corrupt police officers (other than FLAGG) into the ripoff scenario in
order to use their police car, which would result in each participant receiving a smaller portion of
any proceeds from the ripe f f.

155. At approximately 8:17 p.m., WALKER called JONES (J ones Tel. #1 130), and the
two discussed setting up the 2631 S. Troy drug ripoff for the next day, JONES told WALKER
that he had a “jury trial” in the moming, and WALKER responded that he did not want to put it
off for “two days.”

156. At approximately 9:01 p.m., WALKER again called .lONES (Jones Tel. #1143),
asking JONES if they could do' it (the ripoff) before .lONES went to court. WALKER explained
to JONES that he had confirmation that “it” (the narcotics) was still there (at 2631 S. Troy), and
added that the individual who dealt narcotics out of 2631 S. Troy did not live there but went
over there every day to “take care of business.” WALKER said he believed the drugs were still
at 2631 S. Troy because the dealer had called one of WALKER’s guy’s “homics” to “come get
these off me” because the dealer “don’t want to sit with ‘ern.” JONES told WALKER he would

call him back so he (JONES) could make a call because “this shit should go down tonight.”

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157. At approximately 9:04 p.m., JONES called FLAGG (Jones Tel. #1144), and
relayed the information JONES just received from WALKER. During this conversation, a police
radio can be heard in the background, indicating that FLAGG was on duty. After hearing a radio
transmission, FLAGG told JONES, “some motherfucker just shot at the police or some shit.
What’s up?” JONES told FLAGG that “this mothcrfucker sitting over there right now with it,
man, just sittin”’ to Which FLAGG responded, “the l\/[exican?” JONES replied “ycs sir.” After
passing on some of the in formation he received from WALKER, JONES told FLAGG that they
(WALKER and the others setting up the ripoff) want to do it (the ripoff) first thing in the
morning or toni ght, but JONES told WALKER that he had court FLAGG responded, “yeah, l
gotta be at court at 8:30 man, for a jury trial."’ JONES asked FLAGG if he wanted to “do it
toni ght, or what,” to which FLAGG responded “l don’t know” and indicated that he hoped the
police work he was doing right then would not last all nl@t long. JONES then asked FLAGG
who he was riding with', FLAGG responded that he was by himself, but that they (other police
officers) were behind him. JONES continued, if “motherfucker can go tonight, goin’ go
tonight.” FLAGG asked, “how goin’ get into the house‘?” to which JONES responded, “we goin’
knock, fuck that.” When FLAGG asked “motherfucker goin’ open the door?”, JONES replied,
“we figure all that out, it’s in there though.” They then talked about the potential location for the
drugs, With FLAGG surmising that the “shit might be in the garage, shit might be in a car,” and
JONES responding “he saying it’s upstairs, it’s in that crib though.” _TONES then told FLAGG to
let him know and FLAGG said he would call .lOl\lES back.

158. At approximately 9:07 p.m., WALKER called JONES (Jones Tel. #1147). During

this call, JONES asked how WALKER know “for sure they (the drugs) in there.” After

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WALKER explained why he believed the drugs were still at the house, WALKER said he was
“pretty sure they in the [] garage” and that the 26‘h Street Dealer’s brother was still there. During
this conversation, WALKER indicated that he checked out the garage, which faces the alley,
saying he “done been back there” and “checked the whole lick out,” and the “block [was] still
quiet.” After this call, JONES called FLAGG (Jones Tel. #1148), and told FLAGG the brother is
there and they are “positive it is in the garage.”

F. Attempted Rz'pajFofat Least 3 Kilograms of Cocaine and at least $50,000 by

JONES, FLA GG, HA YNES, and MONTGOMERY at 3420 W. 83rd Place
(9/8/04)

Su_mrna_rr

159. Before JONES, Fl_-AGG, and WALKER could conduct the ripoff at 2631 S. Troy,
FLAGG and JONES turned their attention, along with CPD Officer DAREK HAYNES and
JOEL MONTGOMERY (aka “JoJo”), to another ripoff target located at 3420 W. 83>1"d Place in
Chicago. This attempted ripoff occurred on September 8, 2004.

16(). As described in more detail bclow, intercepted conversations over .l ones
Telephone revealed that MONTGOMERY provided information to JONES about the ripoff
target, who JONES indicated was MONTGOMERY’s cousin and is identified herein as
lndividual B. Among other things, MONTGOMERY told ]ONES that individual B had at least
$100,000 (a “buck”) and three kilograms of cocaine (“three books”) in lndividual B’s residence,
which was an upstairs apartment located at 3420 W. 83rd Place. Upon learning of this new
robbery target, JONES enlisted the assistance of CPD officers FLAGG and HAYNES, both of
whom participated in the attempted ripoff of lndividual B’s residence on September 8, 2004.

161. The intercepted conversations and surveillance revealed that on September 8,

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2004, FLAGG and HAYNES attempted to break into 3420 W. 33rd Place, and that at this time,
J`ONES was parked nearby in HAYNES’s white Cadillac Escalade While FLAGG and
HAYNES were attempting to break into the residence, FLAGG spoke with JONES on the
telephone, telling him (JONES) that he (FLAGG) Was trying to kick in the door because
lndividual B was not home. FLAGG later told JONES that a downstairs neighbor was
threatening to call the police about FLAGG’s apparent illegal entry into the residence. FLAGG
also expressed concern to JONES that HAYNES had shown the downstairs resident his badge.
ln further discussing how to get into lndividual B’s apartment, FLAGG told JONES that they
may have to wait until lndividual B showed up to “grab” him and “walk his ass back into the
house."

162. Upon learning that the downstairs neighbor at that address had called the police
about FLAGG’s and HAYNES’s attempt to enter the upstairs apartment, FLAGG told JO`NES he
was listening over his police radio for a “request for a supervisor,” and if he heard that call, he
could either wait for his sergeant (“stand here and wait for my sergeant to come”) or flee the area
to avoid getting caught (“l’m j etting”). FLAGG and JONES discussed calling FLAGG’s
sergeant, and if FLAGG did so, FLAGG could tell his sergeant “some shit” (make up a story) and
that FLAGG should nonetheless “go out the back door and put that shit (the cocaine and/or
money) in a garbage ean” so JONES could pick it up later

163. Given the concerns about the downstairs neighbor’s complaint, FLAGG
ultimately called his sergeant After informing JONES of this development, FLAGG and JONES
discussed the need for HAYNES to leave the building, which HAYNES did, joining JONES

down the street in HAYNES’s Escalade. Additional police officers arrived at the location, after

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which FLAGG told JONES that he was going to get a search warrant. JONES again instructed
FLAGG that if FLAGG gained entry into the apartment, FLAGG should “hide that shit (drugs
and money) in the crib somewhere, do that ‘cause l’m going in there to get it,” which FLAGG
agreed to do. After FLAGG left the area to prepare a search warrant, FLAGG learned that
lndividual B had come home, that the other officers had obtained consent to search lndividual
B’s residence, and that drugs and guns Were recovered FLAGG then returned to the area, where
lndividual B had been placed under arrest.

164. While transporting lndividual B from his residence, in custody, FLAGG called
JONES. FLAGG then put lndividual B on the telephone with JONES, during which time
JONES and lndividual B discussed the possibility of FLAGG releasing lndividual B in exchange
for a bribe. .lONES ultimately advised lndividual B that such a plan would network given the
presence of other police officers in connection with lndividual B’s arrest.

September 7, 2004

165. At approximately 9:41 p.m. on September 7, 2004, JONES called FLAGG (J ones
Tel. #1149), and told FLAGG that he had something “even fuckin’ better” (a potential ripoff
target that was even better than the house at 2631 S. Troy). JONES said that they would have to
do it tomorrow because JONES was unable to enter the residence himself FLAGG asked
JONES the location of the residence, and JONES told FLAGG by his “OG" place (near his old
girl’s, or mother’s, house, which was located in the 8100 block of S. Francisco in Chicago).
JONES further told FLAGG that he would find out the exact location the next day because
JONES was going to “ride with his cousiii” (lndividual B’s cousin) to look at it. JONES then

explained that about three days ago he had seen lndividual B, and that hidividual B had displayed

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a large bag of money to him. JONES further said that lndividual B’s cousin told JONES that
individual B had to have at least a “buck” ($100,000) and “three books” (three kilograms of
eocaine) present at this residence, which was in the vicinity of 83rd Street and Kedzie Avenue.
FLAGG instructed JONES to get the exact location because FLAGG “could go right now,”
indicating that FLAGG was ready to do a ripol` f of that location as soon as possible.

166. At approximately 9:42 p.m., JONES called JOEL l\/[ONTGOMERY (aka “.`lo.`lo”)
at telephone number 773-577-4722 (Jones Tel. #l 150).20 JONES told MONTGOMERY that
"motherfuckers ready to go over there right now.” MONTGOMERY told JONES he would ride
by the residence (to be robbed) and then contact JONES. l understand that in this conversation,
JONES and MONTGOMERY discussed the house they planned to ripoff, and JONES told
MONTGOMERY that he and others were ready to do the ripoff right now.

167, At approximately 9:47 p.m., JONES called FLAGG (Jones Tel. #1151). JONES
told FLAGG that it was “bonafide” but that “tlie nigger (lndividual B) in thc crib” FLAGG
asked JONES if the target would answer the door; JONES said no and told FLAGG that FLAGG
should “boot that motherfucker” (break down the door) and “it’s in there for sure” (money and
drugs were present at the target house). FLAGG asked JO`NES if “he” (lndividual B) had a

pistol JONES told FLAGG there could be several pistols in the house, but that lndividual B

 

20Other agents and l have identified JOEL MONTGOMERY (aka “JoJo”) as the speaker in
this and other conversations set forth in this affidavit based upon several factors, including the
following: i) in some of these calls, MONTGOMERY is identified as “JoJo,” as having the last
name “MONTGOMERY,” and as a relative of lndividual B; ii) CPD arrest records list “JoJo” as
an alias for JOEL MONTGOMERY, iii) subscriber information for the telephone used by
MONTGOMERY indicates that the telephone was subscribed to Doris Montgomcry', iv) the
common sound of MONTGOMERY’s voice in intercepted conversations; and v) the contents
and context of intercepted conversations

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stayed in the upstairs attic area. JONES further relayed that lndividual B “ain’t gonna blast”
(shoot anyone) but FLAGG would need somebody to go with him. FLAGG told JONES to get
the address of the residence

168. At approximately 9:57 p.m., FLAGG contacted JONES (Jones Tel. #1152) and
asked his location. JONES said that he was waiting for MONTGOMERY to get him the exact
location of the house (lndividual B’s house) and that .lONES would wait by his mother’s house.
FLAGG said that he would meet JONES there. At approximately 9:58 p.m., FLAGG called
JONES (J ones Tel. #1`154). JONES told FLAGG he would be at 81st and Francisco near his
“OG’s” crib (mom’s house) in his truck, and FLAGG said he would call JONES when FLAGG
was nearby,

169. At approximately 10:05 p.m., surveillance observed JONES’s Cadillac Escalade
parked on the 8100 block of S. Francisco in Chicago.

170. At approximately 10:06 p.m., MONTGOMERY called .lONES (J ones Tel.
#1158). ln that call, JONES told MONTGOMERY that they were L"ready” and “close by,” and
that tonight was “good.” MON'i`GOl\/IERY asked .lONES if he should meet him at “3420.”
IONES said no, and instructed MONTGOMERY to meet him at 81 st and Francisco.
MONTGOMERY told IONES it was 83rd Place. JONES told MONTGOMERY that “once we
do this l’m gonna get up with you." ln this call, l understand MONTGOMERY have provided
JONES with the location to be robbed a 3420 W. 83rd Place - and that .lONES told
l\/[ONTGOMERY that they would do the robbery that night and meet up with each other.

171. At approximately 10:08 p.m., JONES and FLAGG had a PTT conversation (Jones

Tel. #1161). During this conversation, lONES said that he had the location (of the expected

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robbery) and that he (JONES) was near his “OG’s crib.” FLAGG replied that he was at 79th and
Westem.

172. Approximately one minute later, JONES contacted MONTGOMERY (J ones Tel.
#l 162), and asked him if “he” (Individual B) was present at the residence (3420 W. 83rd Place).
MONTGOMERY told JONES that lndividual B was at the residence JONES also asked
MONTGOMERY to describe the number of floors and doors in the residence, which
MONTGOMERY described., indicating that there was one door to get in and then an upstairs
area. JONES told MONTGOMERY, “it’s about to go down in a little while,” meaning that
attempted robbery would soon take plaee.

173. At approximately 10: 15 p.m., FLAGG, driving an unmarked CPD squad car
bearing lllinois license plate Ml 11363 (the same plate number on the car driven by FLAGG on
July 21, 2004 and August 16, 2004) was observed by surveillance departing 8138 S. Francisco.
FLAGG then drove around the neighborhood of 3420 W. 83rd Place in Chicago.

174. At approximately 10:17 p.m., FLAGG and JONES had another PTT conversation
(J ones Tel. #1165). FLAGG asked what individual B was driving, and JONES replied that he
was driving a black pick-up truck. FLAGG then asked if the individual who lived at 3420 W.
83“] Place drove a Cadillac truck. JONES agreed to “eall and check,” and FLAGG instructed
.lONES to hurry up.

175. About one minute later, at approximately 10: 18 p.m., JONES called
MONTGOMERY (.l ones Tel. #1170) and asked if“he (lndividual B) ain’t got a Cadillac truck.”
MONTGOMERY said no, and that lndividual B drove a black pick-up truck. A few minutes

later, at about 10:25 p.m., JONES called MONTGOMERY (Jones Tel. #1172) and told him that

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they could not see an address located on the residence l\/IONTGOMERY said that the address
was “3420,” and further explained that the house had floodlights in front and a driveway with
bushes in the front illuminated by floodlights. .lONES told MONTGOMERY that they needed to
know the exact address so they would not go into the wrong residence

176. At approximately 10:36 p.m., MONTGOMERY contacted JONES (J ones Tel.
#1173) and asked if JONES had found the correct house_. JONES confirmed that he had found it_,
mmhm&odeMONHKMURYmeUhwgmmmhmdbm.MONNKMERYWM
JONES there was a man, his wife and children living on the first floor and they should be
“checked” too, meaning that the first floor residence should also be searched for drugs.

177. At l0:38 p.m., JONES called Officer B, who was assigned to the 75‘ Police
District (J ones Tel. #1175). JONES asked Officer B his location, and Officer B said that he was
wmmmmmwmmmmmmuwvwmwm$WmMMWMmMrMDUSMmmMOmeS
that he had “somcthing for you right now” in the vicinity of 8 lst and Francisco and that it was
hwhmmmmo”hmwmmmmmKDUSMmedeMommwMHmpwmwnme,
meHIUSmmwwhmenmwMymWMwomwmmMrOMWMNM@UWMWHM
bmmm§@mm%memmyJONESmMOHkMBdemmmN“meomyYKHHBdmnm
wmnmdmmmumndmmymmuwmdmpmm®bmnum§hm€’OHRMBsmdmmhew%
currently working with two other CPD officers, and JONES told him it was okay. Officer B
mmmmde»ESmmhdmwdmWmmom”wmmmhemmmdwammg”wmwl
understand to mean that Officer B hath to miss out on the robbery attempt because he needed
memmmylONESmmaMmemHBLACKMmdmmnwmewmkmg®ndmwfbmthher

did not know. JONES further told Officer B that this was “simple and bona fide,” meaning that

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this was an easy robbery and that he (JONES) was sure that money and/or drugs would be
present. Officer B told JONES he would call back, but if he did not,-then JONES should go
ahead and “handle it” (do the robbery without Officer B).

178. Based on the context of this (J ones Tel. #1175) and other conversations, and the
investigation to date, l understand that JONES was looking for another corrupt police officer to
help FLAGG with the robbery/extortion of drugs and money from the residence located at 3420
W. 83rd Place, which address was located in the §3"1 CPD District. According to CPD ol`ficers, it
would be unusual to contact an officer assigned to the 7"‘ CPD District to assist in the search of a
residence located in the S‘h CPD District. There is no indication in subsequent interceptions that
JONES or FLAGG attempted to contact any police officers from the 8"‘ CPD District to assist
with a legitimate search at 3420 W. 83rd Place.

179. At approximately 10:43 p.m., JONES placed an outgoing phone call to DAREK
HAYNES21 at telephone number (773) 742-9824 (J ones Tel. #1176). HAYNES is a police
officer who works for the CPD’s 7"‘ District. HAYNES did not pick up the phone and J`ONES
left a message for HAYNES to call him.

180. At approximately 11:03 p.m., MONTGOMERY called .lONES (Jones Tel.
#1178). During that conversation, JONES told MONTGOMERY that the robbery might not

occur until the following day, and thc two discussed the individuals who lived at 3420 W. 83'd

 

21Other agents and l have identified DAREK HAYNES as the speaker in this and other
conversations set forth in this affidavit based upon several factors, including the following; i) in
some of these calls, HAYNES is identified as “Darek”; ii) subscriber information indicates that
the telephone used by HAYNES is subscribed to DAREK HAYNES; iii) the common sound of
HAYNES’s voice in intercepted conversations; iv) the contents and context of intercepted
conversations, and v) surveillance information, including that fact that HAYNES was observed
with FLAGG at 3420 W. 83rd Place.

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Plaee. JONES asked MONTGOMERY if he was “for sure the trey,” which l understand to be
JONES making sure that there were three (“trey”) kilograms of cocaine at the house. Later that
night, at approximately 11:27 p.m., JONES called MONTGOMERY (Jones Tel. #1181) and told
him that the ripoff would occur the next day.
September 8, 2004

lSl. On September 8, 2004, at approximately 8:10 a.m., JONES received an incoming
call from HAYNES (J ones Tel. #1188), who told JONES he (HAYNES) was not working
JONES relayed to HAYNES “we needed you last night” and might need him that day, JONES
told HAYNES “it’s there” and HAYNES told JONES “[ need it.” l believe that in this portion of
the conversation, JONES told HAYNES that JONES and FLAGG needed HAYNES to help with
a robbery the night before and that drugs were present at that location, and that HAYNES
indicated that he wanted to be involved in the robbery. Next, JONES told HAYNES, “l can’t go
in ...because l know this motherfucker,” meaning that JONES could not enter the residence
because he knew the drug dealer they were planning to ripoff (lndividual B). JONES indicated
that he was calling HAYNES to go “in” with him (FLAGG), and informed HAYNES of the
expected proceeds from the robbery - “three of ‘em (thrce kilograms of cocainc) in there for sure
and at least fifty bucks ($50,000).” JONES told HAYNES he was leaving work at l:00 p.m., and
was going to see if FLAGG was done with court. JOl\lES told HAYNES that the target house
was located in the 8“‘ Distriet, and explained that the ripoff target’s (lndividual B’s) cousin
(MONTGOMERY) gave him the information about the robbery target. JONES further told
HAYNES that they were going to do the robbery the day before with a few CPD officers, but that

those officers had a particular officer with them, which prevented them from doing the

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robbery/extortionl JONES also told HAYNES that if FLAGG couldn’t get out of ajury trial, at
which FLAGG was presumably going to testify in his capacity as a CPD officer, JONES would
have to find someone else to help with the ripoff.

182. At approximately S: 14 a.m., JONES received an incoming telephone call from
WALKER (J ones Tel. #1190). WALKER asked JONES if they were going to “try it,” and
JONES replied that he may not be able to because “something else” was going on. ln this
conversation, l understand that WALKER asked if _lONES would be able to help him
(WALKER) do the previously-discussed robbery at 2631 S. Troy, and that JONES replied that he
could not be able to help because he had “somethin g else" going on, referring to the planned
ripoff at 3420 W. 83rd Placc.

183. At approximately 8:46 a.m., JONES received an incoming call from FLAGG
(Jones. Tel. #1192). JONES told FLAGG he wanted to “handle this at 1130,” and FLAGG
responded that he would like to do it as soon as he is out of court. JONES indicated that he had
“somebody . . . goddammit gonna rock and roll.” l understand FLAGG to have told JONES that
he would join JONES to commit the robbery when FLAGG left court, and that JONES told
FLAGG he had “somebody” to hclp, referring to HAYNES, and that they were ready to steal the
drugs and money (they were ready to “rock and roll”).

184. At approximately 12:23 p.m., JONES received an incoming PTT call from
lndividual C22 (J ones Tel. #1199, 1200). During the course of their PTT conversation, lndividual

C asked JONES if it went “right the other day,” and JONES replied that it had not, but that

 

22lndividual C was using one of the ten Nextel cellular telephones subscribed to in .lONES’s
name.

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something else was going on that day. hidividual C informed JONES that someone called
lndividual C “for a thumper (gun) the other day,” and JONES told individual C that “he” was
going to handle it on his own. I understand that in this conversation, lndividual C asked JONES
if the robbery planned for 2631 S. Troy had occurred. l further understand that hidividual C
informed JONES that WALKER had called lndividual C for a “thumper” (gun) the other day,
and that JONES informed individual C that WALKER said he would commit the robbery
himself. lndividual C asked if it was the wrong move again, and JONES explained how the
planning for the 2631 S. Troy robbery had occurred JONES further told individual C that
JONES was going to do another ripoff that day at l:30 p.m. near JONES’s mother’s house,
JONES also told lndividual C that it is “guaranteed,” and that these were “books,” referring to
the proceeds of the robbery, which would be kilograms of cocaine (“books”). lndividual C then
offered to sell some of the drugs for JO`NES, asking JONES to let “me and [another individual]
go ahead and take care of that . . . at least one (kilogram of cocaine).”

185. At approximately l:01 p.m., JONES placed an outgoing call to HAYNES (Jones
Tel. #1212), leaving him a voicemail for HAYNES to call JONES.

186. At approximately 1:18 p.m., a black Ford pick-up truck was observed arriving at
3420 W. 33rd Place. A subsequent check of Secretary of State records indicated that this truck
was registered to individual B.

187. At approximately 1:40 p.m., surveillance observed JONES in his Cadillac
Escalade driving past 3420 W. 83"j Place. JONES then left the area at approximately l:42 p.m.,
and parked his Escalade several blocks away from the target residence next to a large park.

188. At approximately 1 :45 p.m., JONES received an incoming call from Officer C,

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who was also a 7"‘ Di strict CPD officer (J ones Tel. #1216). During this call, a police radio can
be heard in the backgroundl JONES told Officer C that lie had “some action” for him, and
Officer C replied that he was tied up with a landlord/tenant dispute. JONES told Officer C that
he was waiting on “Darek” (HAYNES), and he needed him to roll up to make it look “good,”
meaning that JONES was waiting on HAYNES who would “roll up” on the robbery/extortion
victim in order to make any police stop look “good” (legitimate). Officer C told JONES to call
him when they had everything “situated.”

189. At approximately 1:53 p.m., JONES received an incoming call from WALKER
(J ones Tel. #122l), which call appeared to relate to the ripoff WALKER and JONES were
planning for the 2631 S. Troy address, as well as JONES’s plante rob the 3420 W. 83rd Place
address. WALKER told .TONES “this nigger sitting there with it right now," and “he just
dumped one and called for another one,” referring to the drug dealer at the Troy address who was
holding drugs and had ordered more. JONES said that he was “east.” WALKER asked if this
“was one of yours,” and JONES replied that it was “one of ours . . . three of ‘em (three
kilograms of cocaine) and maybe fifty dollars ($50,000).” WALKER then asked JONES if this
was “by the book.” JONES replied, “no . . . we doin’ this on our own.” Based on the context of
this and other conversations, and the investigation to date, l understand that in this portion of the
call WALKER and JONES began discussing the robbery at 3420 W. 83rd Place that .lONES was
planning to commit. When WALKER asked whether this was “by the book,” he was asking
JONES whether he would be conducting legitimate law enforcement activity, and by responding
“no . . . we doin’ this on our own,” JONES told WALKER that JONES was not plamiing on

conducting legitimate law enforcement activity. Later in the conversation, WALKER asked if

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JONES was “bringing something to the hood,” and JONES told WALKER, “l don’t know . . .
Ccause uh, if its fifty bucks we just gonna let ‘em have them.” JONES further stated, “lf it ain’t
fifty bucks, one of ‘em is coming with mc,” indicating that if $50,000 in cash was present in the
house, JONES was going to take that money and leave the drugs where they were; but if the
money was not there, JONES was going to take cocaine (“one of ‘em”) from the residenee.

190. At approximately 1156 p.m., FLAGG called JONES (Jones Tel. #1222). JONES
told FLAGG that he needed “a car,” and that the cars he had previously seen at the residence on
83ld Place were no longer there.

191. At approximately 2205 p.m., WALKER called JONES (Jones Tel. #1223). ln that
conversation, WALKER. asked JONES if JONES “got nobody else that can go” (assist
WALKER with his planned robbery at 2631 S. Troy), and JONES replied that he did not have
anyone fn this call and a subsequent call (Jones Tel. #1224), WALKER and JONES discussed
other CPD officers who may or may not be willing to help WALKER do the Troy Street ripoff.
During that call (#1224), WALKER specifically asked about HAYNES saying, “What about your
other man? . . . That nigger Darek,” to which JONES replied, “He (HAYNES) ain’t working
today.” WALKER then asked if HAYNES would help with the robbery, saying, “He got a
couple of balls, don’t he?” After JONES replied that HAYNES did, WALKER indicated that he
needed to do the ripoff quickly: “Shit, l need this cna l know this motherfucker ain’t got wait too
long after this one here.”

192. At approximately 2:13 p.m., JONES called HAYNES and the two discussed the
robbery to occur at 3420 West 33rd Place (J ones Tel. #1234). JONES told HAYNES that there

would be “fifty bucks and three of them things” ($50,000 and three kilograms of cocaine) present

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in the house. JONES and HAYNES then discussed that the intended robbery/extortion victim
(lndividnal B) lived in the attic. JONES told HAYNES to meet him and explained that “this
motherfucker” (FLAGG) was still in court. JONES further told HAYNES he wanted to see what
Officer C was going to do because JONES needed a “car” (police vehicle) to “ride up in front.”
ln this call, l understand that JONES was asking l-IAYNES to participate in the anticipated
robbery and that if FLAGG continued to be stuck in court, JONES was going to see if Officer C
could provide a police Vehiele to sit in front of the residence during the robbery. lbelieve that
JONES wanted a police vehicle to be present in order to give the appearance to any bystanders of
a legitimate police search being conducted at that location, rather than the corrupt police offlcers
taking any drugs and/or money at that residence for their own personal benefit

193. At approximately 2:15 p.m., JONES called FLAGG (Jones Tel. #1235). FLAGG
discussed the jury trial that he was involved in. JONES told FLAGG he was waiting on someone
(HAYNES) and FLAGG asked if that individual (HAYNES) was “going by himself.” JONES
said, “No, we fuck with [Officer C].” FLAGG told JONES, “You better take care of me,” to
which JONES replied, “l got you for something, don’t worry about it.” l understand that in this
call, FLAGG asked JONES whether HAYNES was going to commit the robbery by himself, and
JONES said that Officer C was going to assist HAYNES. At that point, FLAGG wanted to make
sure that JONES and the others provided FLAGG a cut of the robbery/extortion proceeds, which
was evident by FLAGG’s comment that JONES better “take care” of FLAGG.

194. On September 8, 2004, at approximately 2:49 p.m., JONES received an incoming
call from HAYNES (J ones Tel. #1248). During that conversation, JONES gave HAYNES

directions to meet him at a park located several blocks east of 3420 W. 83rd Place.

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195. At approximately 2155 p.m., surveillance observed HAYNES, driving a white
Cadillac Escalade, anive at JONES’s location and stop briefly in front of JONES’s Cadillac
Escalade. Surveillance then observed HAYNES’$ white Escalade drive by 3420 W. 83'd Place
and that JONES was a passenger in that truck.

l96. At approximately 3:2l p.m., surveillance observed a green Cadillac exit the area
behind 3420 W. 83rd Place with a driver and two children inside the vehicle. At approximately
3:38 p.m., JONES received an incoming call from MONTGOMERY (.l ones Tel. #1254), who
asked JONES if everything was still “eool.” JONES told MONTGOMERY he was “still
waiting” and that he (JONES) had observed a green Cadillac parked at the residence of 3420 W.
83’d Place.

197. At approximately 3:39 p.m., JONES placed an outgoing call to FLAGG (Jones
Tel. #1256), who indicated he was still in court.

198. At approximately 4:39 p.rn., JONES received an incoming telephone from
WALKER (J ones Tel. #125?). WALKER asked .lOl\lES how it “came out,” referring to the
planned ripoff at 3420 W. 83rd Place, and JONES replied that he was “still over here.”

199. At approximately 4;44 p.m., JONES called FLAGG (Jones Tel. #1258), asking
FLAGG how long FLAGG would be in court. FLAGG asked JONES’s location and JONES told
FLAGG he was in the vicinity of 83rd Street and California Avenue. FLAGG then asked about
“Darek” (HAYNES), and JONES responded that HAYNES was with him_ FLAGG told JONES
that HAYNES “should be over there” (watching the target residence). JONES told FLAGG that
they had seen “dude’s car” at the residence, but would drive by the residence again

200. At approximately 4:52 p.m., surveillance observed HAYNES’s Cadillac Escalade

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described above (license plate 5689336) driving in the vicinity of 3420 W. E§?f"il Place.

20l. At approximately 5:05 p.m., surveillance observed FLAGG’s Chevrolet Caprice
parked at 26th Street and California Avenue near the Cook County Criminal Courthouse. At
approximately 5:07 p.m., surveillance observed JONES re-enter his Escalade at the park near the
ripoff target residence Approximately nine minutes later, surveillance observed FLAGG
running to his Caprice wearing his CPD uniform

202. At approximately 5:53 p.m., JONES placed an outgoing call to FLAGG (J ones
Tel. #1260), asking when FLAGG would am`ve. FLAGG told JONES he would be there in a
minute.

203. At approximately 6:06 p.m., JONES called MONTGOMERY (J ones Tel. #1261).
ln that call, JONES and MONTGOl\/IERY discussed if there were any “special places” to look in
the house, referring to where the officers should look for drugs and/or money. MONTGOMERY
directed JONES to look in the kitchen area, the cabinets, and two walk-in closets. JONES told
JOEL MONTGOMERY they (the officers) were “going in there” in approximately 20 minutes

204. At approximately 6:26 p.m., FLAGG called JONES (Jones Tel. #1264). JONES
and FLAGG discussed FLAGG’s location, and JONES directed FLAGG to come west.

205. At approximately 6:30 p.m., JONES received a call from MONTGOMERY
(J ones Tel. #1266). During that call, JONES said that an individual had returned to the house.
JONES asked MONTGOMERY whether the people living at the house would open the door if
they (FLAGG and HAYNES) “knocked on the door” and stated they were the police.
MONTGOMERY replied, "he should.” JONES and MONTGOMERY then discussed the door

to the attic apartment and whether or not it had any “gates,” to which MONTGOMERY replied

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that he did not think so.

206. At approximately 6:33 p.m., FLAGG called .IONES (J ones Tel. #1268) and
advised that he (FLAGG) was located on the other side of the park (where JONES and HAYES
were located). At approximately the same time, surveillance observed FLAGG’s Caprice parked
on the westside of the park and two individuals resembling HAYNES and JONES approach
FLAGG’s Caprice.

207. At approximately 6:4l p.m., surveillance observed both vehicles (the Caprice and
HAYNES’s white Escalade) leave the park area and drive to 3420 W. 83rd Place. FLAGG,
accompamedbyH.AYNES,parkedhisunmarkedCapricepolicecarinfrontof3420W.83rd
Place. JONES, now driving HAYNES’s white Escalade, parked approximately six houses west
of the target residence on 33“f Place.

208. `Dunngtheenmnngsuuvdhanceof3420VV.SFdthe,mnvedwnceobsmyedbodi
FLAGG and HAYNES at various times walking around 3420 W. 83rd Place, as well as
approaching both the front and rear doors.

209. Beginning at approximately 6:42 p.m., JONES and FLAGG engaged in a series of
conversations (Jones Tel. #1271, 1272, 1273, 1274, l276, 1277, 1278, 1279, 1282, 1285, 1286,
1287,1288,1289,l290,1291,l295,1296,1298,1299) Ihunngdnssenesofconvmsanons
FLAGG and JONES discussed the following:

(a) FLAGG said that the resident was not home, and that he (FLAGG) was
having difficulty breaking the door down and could not figure out why the door
wwmmmmnKNRUMMMmHAUHMMMWMmMMmM®r

down, instructing FLAGG to turn around backwards and use his feet. FLAGG

_gg_

 

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described that the first floor resident was complaining and that HAYNES was at
the bottom of the stairs. JONES told FLAGG to let HAYNES try to kick in the
door.

(b) FLAGG then told JONES that HAYNES had shown the first floor resident
“his badge” (police badge). FLAGG and JONES discussed whether FLAGG
should go try the back door. FLAGG further told JONES that HAYNES had told
someone who was on the first floor that they were looking for narcotics and
repeated that HAYNES had shown his badge. FLAGG stated, “l don’t know why
this motherfucker keep doing this shit, showing his badge and shit.” I believe that
FLAGG was upset that HAYNES was showing his badge because the first floor
resident would be able to see HAYNES’s badge number, If FLAGG, JONES, and
HAYNES were conducting a legitimate search of 3420 W. 83rd Place, they would
not be concerned with the residents of this location ascertaining their identity.

(c) FLAGG further told JONES that the individual on the first floor was
“beefing” (complaining) and telling FLAGG that if he didn’t have a search
warrant that he was going to call his (FLAGG’s) sergeant FLAGG and JONES
discussed the individual who they believed to be living upstairs (the intended
robbery victim ~ individual B), hoping that he would arrive FLAGG told JONES
that they may have to wait until individual B showed up and that they would

“gra ” him and “walk his ass back into the house.”

(d) Later in this series of conversations, FLAGG told JONES that HAYNES let

the first floor resident back into his house and that this person had called the

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police. JONES asked if FLAGG was going to call his sergeant, and FLAGG said
“l don’t know if he’s gonna go for this shit.” FLAGG told JONES that he
(FLAGG) was listening to the police radio because the first floor resident had
said, “l don’t see no badge, ldon’t see no radio.” FLAGG told JONES that if he
heard a “request for a supervisor” over the radio he could do two things: “stand
here and wait for my sergeant to eome, or l’m j etting” (leave the scene prior to
getting eaught). FLAGG asked JONES if`FLAGG should call “him” (his
sergeant). JONES instructed FLAGG to tell his sergeant “some shit” (make up a
story), and further told FLAGG that if FLAGG called his sergeant, JONES wanted
FLAGG to “go out the back door and put that shit (the cocaine and/or money) in a
garbage can.” FLAGG agreed. Hidin g the narcotics and/or money in a garbage
can in the back of the residence would allow FLAGG to hide this contraband from
his (FLAGG’s) sergeant f and thus, avoid having to log it as evidence - so that
JONES or another person could later recover the drugs and/or money and keep it
for themselves

(e) Later in the series of conversations, FLAGG said that his sergeant would be
unable to come because he was busy with a search warrant at another location.
JONES told FLAGG that FLAGG may have to show his sergeant one of them
“books” (kilograms of cocaine) and put the rest in the garbage can. l understand
JONES to be telling FLAGG that he (FLAGG) may need to show his sergeant a
kilogram of cocaine to justify the search, but that FLAGG should put the

remainder of the cocaine in the garbage can so those drugs could be retrieved later

_ga_

 

 

 

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for JONES, FLAGG, HAYNES, and MONTGOMERY to keep for themselves
HAGGmdemHDUSmmhmwmwmmmmmnmwawmmwmmm.
JONES said that “if your sergeant knows, once you get in there and get it what the
fuckf’

210. At approximately 7:00 p.m., FLAGG told JONES his sergeant was comin g to the
residence alone (J ones Tel. #1295). FLAGG said he was going to tell HAYNES to meet with
JONES and that JONES should call HAYNES so that l-IAYNES could leave before FLAGG’S
sergeantarnved.

211. HAYNES then called JONES (Jones Tel. #1299)_, and told JONES that the person
cmdwhmdhmwws%mm?JONESwMHAYNESmnmdhmmwmm%FLAGGcMmdms
sergeantl JONES also told HAYNES that FLAGG was going to “boot it” (break the door) and
‘pummndwgmwmemm”®demwcmmmemmmrmmmymagmb@mcmn.HAYNESaM£dH
FLAGG’s sergeant “knows what’s going on,” and JO`NES said “not everything.”

212. During the course of these conversations between JONES and FLAGG,
surveillance observed a small green Chevrolet Geo exit the driveway of 3420 W. 83rd Place and
depart down 83rcl Place.

213. At approximately 7:05 p.m., surveillance observed an officer, who they believed
to be HAYNES, walk over to HAYNES’s Escalade that was parked down the street and enter the
driver’s side door, at which point .lONES slid over to the passenger side of the Escalade. The
Escalade then conducted a U-tum and went west on 83'd Plaee.

214. At approximately 7: 12 p.m., JONES again spoke with FLAGG (J ones Tel.

#131 l). JONES told FLAGG that “here comes your man with two other motherfuckers,”

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indicating that FLAGG’s sergeant had arrived with two other police officers

215. At approximately 7:15 p.m., surveillance observed a CPD tactical vehicle arrive in
front of 3420 W. 83rd Place, after which three male police officers walked towards the front of
the residence and entered.

216. At approximately 7:18 p.m, FLAGG contacted JONES (J ones Tel. #1315).
FLAGG told JONES that the door would not open and further stated that he was going to leave
to type a search warrant FLAGG told JONES that people were stationed in front and in the rear
of the residence and that he would like to meet JONES to talk about this further. At
approximately 7:18 p.m., surveillance observed FLAGG depart the area of 3420 W. 83rd Place at
a high rate of speed.

217. At approximately 7:22 p.m., JONES contacted FLAGG (J ones Tel. #1320`).
During the call, JONES provided a physical description of lndividual B and told FLAGG to tell
the police officers still at the residence to stop a black truck if it airived. ln addition, JONES
instructed FLAGG to get the “chalk" (cocaine), and to “try and get one of them bitches’1 (one
kilogram of cocaine). FLAGG in formed .lONES he was going to the 8"‘ CPD District to work on
a search warrant About one minute later, IONES again contacted FLAGG (J ones Tel. #1321),
and they continued to discuss the search warrant that FLAGG was going to prepare FLAGG
told ]ONES he had a warrant he could use as a guide, and further stated he was going to go to the
Judge’s house to get the warrant signed

218. At approximately 7:32 p.m., FLAGG called JONES (Jones Tel. #1323),
requesting additional information for the search warrant JONES provided FLAGG with

lndividual B’s name and indicated that he (JONES) did not know if individual B had ever been

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arrested During this conversation, it appeared that FLAGG was accessin g a CPD database to try
and confirm information about individual B, ultimately telling JONES that he found it. The two
also discussed other identifying characteristics of lndividual B, including his hair and a prior
address, presumably for FLAGG to include this information in a search warrant.

219. At approximately 7:31 p.m., surveillance observed JONES exit the passenger side
of HAYNES’s Escalade and entering his own Cadillac Escalade. JONES drove north on
Francisco and east on 83rcl Street. At approximately 7:41 p.m., surveillance observed JONES’s
Escalade parked at his mother’s residence on Francisco.

220, At approximately 7:39 p.m., JONES again contacted FLAGG (Jones Tel. #1329).
JONES told FLAGG that if FLAGG had to “hide that shit it in the crib somewhere, do that,
‘cause l’m going in there to get it,” which FLAGG agreed to do. l understand that in this call,
JONES was instructing FLAGG to take any drugs and money found inside 3420 W. 83“l Place
during the execution of the search warrant, and to hide it in a place where FLAGG’s sergeant and
other officers would be unable to find it so that JONES could come back at a later time to steal
the drugs and money.

221. At approximately 8:28 p.m., JONES received an incoming call from FLAGG
(J ones Tel. #1342), who told JONES that lndividual B had come home, that the CPD officers
who were present at the residence obtained a consent to search, and that during that search they
recovered three guns. FLAGG told .TONES that the first floor resident had a key to the second
floor and that FLAGG was going “to beat” that first floor resident JONES then asked “where
that shit (coeaine) at?” FLAGG told JONES it was somewhere on the first floor, and that he

(FLAGG) he was going to retuni to 3240 W. 83rd Place.

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222. At approximately 8:35 p.m., surveillance observed FLAGG returning to the 83rd
Place address with his police car’s lights and siren on. FLAGG, now observed to be wearing a
bullet proof vest, which he was not wearing prior to his departure, entered the residence at 3420
W. 83rd Place.

223. At approximately 8:42 p.m., FLAGG called JONES (J ones Tel. #1344) and told
him the officers recovered “three pistols and a little bit of something.” JONES asked how much
“wor ” (cocaine). FLAGG stated “maybe an eighth,” to which JONES replied, “an eighth of a
key?” (1/8 of a kilogram of cocaine). FLAGG also told JONES that when HAYNES let "dude"
(the first floor resident) back in his residence, “that’s when he moved the shit.” JONES
instructed FLAGG to “find that paper (money).”

224. At approximately 9113 p.m., FLAGG called JONES (Jones Tel. #1352) and told
him that lndividual B said that there was no money in the residence, FLAGG told JONES they
had searched the building and did not find any moncy. FLAGG also told JONES that lndividual
B was trying to bribe the sergeant and other officers The two discussed that individual B kept
everything in his closet at the residence. FLAGG indicated that he found paperwork for a house
on ll5th Street, and that FLAGG believed that individual B stored narcotics there. FLAGG told
JONES he was going to take lndividual B’s keys and go to the 115th Street address

225. At approximately 9:44 p.m., FLAGG called JONES (J ones Tel. #1360). During
that conversation, FLAGG asked JONES if he knew lndividual B, and told JONES that
individual B was “JoJo’s brother"` (.IOEL MONTGOMERY’s brother) from the east side of the
city. FLAGG stated that he went into individual B’s residence, and then he (FL,AGG) put

lndividual B on the telephone to speak with JONES. During their conversation, lndividual B

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asked JONES if there was anything he could do for him lndividual B admitted to JONES that he
had “500 and probably a half and a 125” (amounts of cocaine). lndividual B also told JONES
there was no money in the residence. JONES asked individual B if “he (FLAGG) with some
white boys (white police officers)?” lndividual B said “yea,” causing JONES to swear. l
believe that JONES asked lndividual B about the people with FLAGG to ascertain if lndividual

B (and FLAGG) were in a position for lndividual B to possibly provide money or drugs to
FLAGG as a bribe. lndividual B told JONES he could make some telephone calls and “put
something together” (get money). JONES then said, “damn, he’s with them white boys . . . it’s
gonna be hard to do this shit.” lndividual B told JONES that he might be able to get
approximately $5,000. FLAGG got back on thc telephone and JONES told FLAGG that
lndividual B could get “five stacks” ($5,000) but that he “ain’t got shit” (lndividual B had no
money at that tiine). JONES said that he told lndividual B that there was nothing they could do
because FLAGG was with “white boys” (some officers who were not part of JONES’s and
FLAGG’s criminal organization). Based on the context of this call, I understand that FLAGG
contacted JONES in the presence of lndividual B, who had been arrested at 3420 W. 83rd Place.
lndividual B then got on the telephone with JONES, and during their conversation, l understand
that lndividual B was attempting to see if he could be released if he provided JONES or FLAGG
with money. l further understand that because lndividual B (and FLAGG) were with officers
who were not a part of JONES’s and FLAGG’s criminal organization, JONES was unable to help
individual B.

G. Conversation Bctween JONES and Indr'vidual D Regarding an Attempted
Murder (9/21/04)

226. On September 21, 2004, JONES received a telephone call from lndividual D at

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approximately l0:34 a.m. (Jones Tel. #2396). lndividual D told JONES that he was coming
from court.23 lndividual D described to JONES how one of the victims in his criminal case
approached him at the courthouse, telling JONES, “One of the niggers l shot in the stomach . . .
man gonna tried to pull me to the side, ri ght. He’s like ‘rnan, you don’t want hear what l have to
say?’ l say, ‘Man, what you got to say, man?’11 lndividual D then told JONES that the individual
who approached him wanted individual D to pay him to make the case go away: “This
motherfucker say, ‘man, you know, we need . . . we don’t really got to be going to court for this
man.’ l say, ‘What you want to do?’ . . . ‘Man, you know a couple ofdollars will solve’ . . . I say
‘man_, somebody already came to me with that proposition man when l first shot you all man, l
turned ‘em down. So what you propose?”’ lndividual D continucd: “You know what this
mother fucker [the shooting victim] say? This mother fucker say ‘two huridred.’ l say ‘two
hundred what?’ He say ‘thousand.’ I say ‘man.”’ At that point in the conversation, JONES, who
was laughing, told lndividual D that “he [the shooting victim] think you was loaded.” individual
D told .lOl\lES that he told the victim, “nran, we’ll be going to court, man,” and continued by
explaining to JONES, “I could see if 1 shot a motherfucker with some potential or something
Nigger you ain’t shit. You a mother fucking criminall What the fuck l’m a gonna give you two
hundred thousand for?” JONES can again be heard laughing at the story. As the conversation
between JONES and lndividual D continued1 with the two of them discussing the status of
individual D’s case, lndividual D returned to the subject of the shooting victim trying to get

money from him, telling JONES that the victim had “a lot of balls.” JONES said “yeah, yeah”

 

23A review ofCook County records shows that lndividual D is currently charged with three
counts of attempted murder and related offenses, and that he was scheduled for a court
appearance on September 21, 2004.

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and asked lndividual DJ “That’s the one that was fucked up right?” individual D replied, “ No,
nigger l shot in the chest, he was fucked up, he was in a corna. Fuck him. Shit . . . nigger. Tell
that mother fucker bitch, 1 don’t get down like that on this . . . .”, after which JONES laughed.
lndividual D said to JONES, “Mother fucker, man, he got a lot of nerve, man.” JONES replied,
“No shit.”

H. Conversatr`ons Involving WALKER, WILSON, JONES, and Others Regarding
An Ada'itional Drug Deal and Potenrial Ripoff(10/26-2 7/04)

227. On October 26, 2004 at approximately 11:57 a.m., WALKER received a call over
Walker Telephone from individual E (Walker Tel. #3 821). lndividual E asked WALKER, “can
your guys come out and play, today?” 1 understand lndividual E to he referring to WALKER’s
corrupt police officer associates, and that in this conversation, lndividual E was wondering if
these corrupt police officers were available to do a drug ripoff (“come out and play”). individual
E then mentioned a house with “the refrigerator in the back,” which appeared to be a reference
to the house located at 2631 S. Troy. lndividual E said that “one guy going through today . . . to
talk about some numbers,” meaning that somebody was going to 2631 S. Troy to discuss drug
prices. WALKER then told lndividual E that he has “two groups, now,” in an apparent reference
to WALKER having two different groups of corrupt police officers who could help him conduct
ripoffs of drug dealers

228. A few minutes later, at approximately 12:02 p.m., WALKER spoke with
lndividual E (Walker Tel. #3 827), who had another person (“UM”) on the line in a three-way
call. ln the call, lndividual E stated, “I got my guy on the other line. Go on and explain it to him,
what’s all going on today.” The UM then stated, “1\/fy guy said he’s going to get with dude at 3
o’clock, man.” individual E then asked the UM, if “they fixing to do something or just fixing to

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discuss numbers?” UM then stated that “every time they go over there, they getting down.” fn
this call, l understand the UM to be involved with the “guy” that WALKER referenced in call
#3821 that was going over to 2631 S. Troy to discuss drug prices, and that the UM told
WALKER and individual E that every time his “guy” went to that address, he obtained drugs
(“they getting down”). WALKER then asked the UM if he knew how many kilos of cocaine the
UM’s “guy” was going to purchasc, saying, “you don’t know how good he’s going to bc eating,
right now?” After the UM indicated that he did not know the answer, the Ul\/f said, “We need
somebody to put an order in for a couple of them, that way everyone can come out looking
good.” lbelieve that the UM was telling WALKER and individual E that they needed to order
multiple kilos of cocaine to make the robbery worth while. WALKER and lndividual E asked
the U`l\/l if he knew if the drug dealer at 2631 S. Troy was “helding” drugs at the residence, after
which the UM said that once an order for drugs was placed, the drug dealer would leave the area
and return a short time later with drugs. Later in the same conversation, WALKER asked the
Ul\/l if anyone could “tail” the drug dealer from 2631 S. Troy to figure out where he obtained the
narcotics, saying, “maybe a motherfuckcr might just need to keep an eye on this cat for a day, you
know what l’m saying And then we can find his location, find who he’s meeting, motherfuckcr
cut the middleman out, and really get somewhere wild.” lbelieve that WALKER was telling the
UM and individual E to follow the drug dealer from 2631 S. Troy to his drug supplier so that
they could ultimately rob the supplier of drugs and/or money.

229. At approximately 12:21 p.m. that same day, JONES called WALKER (Jones Tel.
#4120). WALKER stated, “l had a lick up, Joe,” and after JONES asked, “What is it?,”

WALKER rcplied, “It’s maybe a deuce or better, right. You know the same address over there.”

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1 understand that in this conversation, WALKER told JONES that he had a ripoff he wanted to
conduct, and that it would be at 2631 S. Troy (“the same address”) for two or more kilos of
cocaine (“it’s maybe a deuce or better”). WALKER told JONES, “l don’t wanna get dude, yet. l
wanna watch him. Iwanna get the nigger that’s going,11 to which JONES responded, “i know
what your saying.” l understand that in this exchange, WALKER told JONES that he wanted to
rob the supplier of the individual who sold drugs at 2631 S. Troy, and that JONES agreed Later
in the conversation JONES asked WALKER about the robbery target, saying, “He know you?”
WALKER responded, “No. Nigger don’t know me, see, it’s going through one of my guys. The
one that put me on the whole lick.” JONES then told WALKER, “What you can do, is go, watch
him, follow him, hit us when he’s getting close, and l’ll have somebody whoop.” l believe that
JONES instructed WALKER to conduct surveillance of the drug dealer from 2631 S. Troy, and
then to call JONES, who would have somebody stop the drug dealer and take drugs and/or
money from him. JONES added that the police officers engaged in criminal activity with JONES
might not be willing to travel that far to conduct the ripoff: “The only thing about it though, is the
motherfuckcr who working, they ain’t going down that far.” WALKER further told JONES that
he “don’t want to many motherfuckch in on the lick (ripoff) because l don’t want to chop that
(the ripoff proceeds) many ways.” JONES replicd, “Yeah, because that’s a deuce (two kilograms
of cocaine), and that’s going to be what, that’s four of us (participants in the robbery/extortion)
already.” WALKER informed JONES that the drug deal was supposed to happen around 3 p.m.,
and JONES told WALKER to keep him informed because he’s “going to put some
motherfuckch on standby.”

230. At about 4:25 p.m. that day, WALKER called JONES (Jones Tel. #4179), and

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JONES said, “l guess it ain’t happening.” WALKER responded, “l ain’t heard shit back from my
man." JONES then told WALKER, “l gotta tell those boys to ride out, but night crew coming
on,” and WALKER told JONES that he would let JONES know something as soon as he
(WALKER) heard. lbelieve that in this call, JONES and WALKER discussed why the ripoff
had not occurred, and JONES informed WALKER that another group of police officers that were
working the night shift might be available to conduct the drug robbery.

231. The next day, October 27, 2004, WILSON, WALKER, and lndividual l-l engaged
in a series of conversations concerning a cocaine deal and possibly setting up this cocaine
supplier for a later robbery.

232. At approximately 10:46 a.m. on October 27, 2004, WALKER called WlLSON
(Walker Tel. #3962), and told WILSON, “Look, l need three to go to work,” meaning that
WALKER was asking WlLSON to supply him with three kilos of cocaine WILSON asked
WALKER to stop by and see him at his carwash, and WALKER then told WILSON, “Well_, you
can just get on the phone because you know what l am talking about. But, l’ll be up there, but go
on and get on the phone.”

233. About an hour later, at approximately l l :42 a.m., WILSON called WALKER
(Walker Tel. #3986), and told WALKER, “l talked to him and stuff, in the next twenty minutes
he is going to call me back.” WALKER asked WlLSON if “he” (WlLSON’s cocaine supplier)
was “going to be ready to go,” to which WILSON rcsponded, “he said he would ca11 me back.”

234. About an hour later, at approximately 12:42 p.m., WILSON again called
WALKER (Walker Tel. #3996). During their conversation WlLSON told WALKER “about

three o’clock,” and WALKER said that he would “pass that word.” After this call, WALKER

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called lndividual H (Walker Tel. #3997) and told individual l-l that it would be around three
o'clock. lndividual l-l responded, “as long as he can gct them” (kilograms of cocaine) he would
tell his “guy” (Individual H’s drug customer) it would be later in the day.

235. Later that day, at approximately 2:57 p.m., WALKER called WILSON (Walker
Tel. #4025). During their conversation WILSON told WALKER to go to the vicinity of Division
Street and Grand Avenue, telling WALKER this was a “business.” WALKER said that this
location was too far away, and that he (WALKER) would call his “man” (lndividual H) to see if
this was too far.

236. About ten minutes later, at approximately 3:06 p.m., WILSON called WALKER
(Walker Tel. #4027), and told WALKER that “he” (W_lLSON’s drug supplier) wanted to do the
deal in the vicinity of 35th Street and Ashland Avenuc. WALKER told WILSON “you talking
about a nigger riding tip with damn near sixty bucks on him,” referring to the approximate
amount of money ($60,000) that someone would need to pay for three kilograms of cocaine.
WALKER and WlLSON then discussed the area around 35th and Ashland, with WALKER
stating that this area (3 5th and Ashland) would be “better than going way out there” (to Division
and Grand). WILSON said that the location would be “perfect for the next time when somebody
rolled up on them.” WlLSON added that “if they take a chance like that . . . they take a chance
on some big ones . . . and they can be easily rolled up on.” WILSON said they were looking at
“nothing” but next time it would be “all_” WALKER expressed concern about riding with
someone else’s “cash.” WILSON assured WALKER he would drive “the truck” and check
everything out. l believe that in this call, WILSON and WALKER were working to broker a

cocaine deal between WlLSON’s supplier and lndividual H’s customer. WALKER was

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concerned about someone having to ride with 360,000 (“sixty bucks”) to meet the supplier,
which is why he wanted to find a nearby location. l further understand that WILSON and
WALKER wanted this deal to go smoothly so that during the next drug deal between these
parties, corrupt police officers could “roll up” on the supplier and ripoff a larger amount of drugs.

237. At approximately 4:06 p.m., WALKER called lndividual H (Walker Tel. #4037),
and told individual l-l that “they want a motherfuckcr to really come too far west” to Grand and
Division. WALKER told lndividual H that he told them if they would come “south” they would
“fuck with them” (do thc drug deal). WALKER and lndividual H then discussed “othcr cats”
(drug suppliers) who had a “sweeter ticket” (bctter price). lndividual l-l told WALKER, "but we
need them so we can do the other thing.” WAL`KER told lndividual H that “dude" (WlLSON)
Was talking about “hittin’ them upside the head the next time.” lndividual i~l said it would have
been sweet because they could have done “a five piece spicy” the next time. WALKER replied,
“no, we was going like six, seven . . .We doubling up.” lndividual H agreed and said “we actually
need them.” WALKER and lndividual H then discussed getting the supplier in their “area so that
the next time we get them we can get cm out here, they feel confident, and the nigger can bang
them.” l understand that in this conversation, WALKER and individual H discussed the need to
do this drug deal with WILSON’s supplier so that they could later rob him. Durin g the call, the
two discussed having the supplier come into their neighborhood for this three kilogram cocaine
deal so that the supplier would feel comfortable The two then discussed doubling the amount of
cocaine for the next deal to “six” or “seven” kilos, at which time they could rob (“hit [] upside
the head” or “bang”) the cocaine supplier, taking the cocaine without paying for it.

238. Following this conversation, numerous telephone calls between WALKER and

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WILSON, and WALKER and individual H were intercepted during which the location of the
potential drug deal was discussed After several conversations among these individuals, it
became apparent that both WlLSON’s supplier and lndividual l-l’s customer were unwilling to
travel in order to do the drug deal, and they agreed to try and conduct the drug deal the next day,

I. Additional Ccm versations Involving JONES, FLA GG', HA YNES, BLA CK,

WILSON, WALKER, Irtc[uding Conversations Regarding Arroc‘her Potentr’al
chojfand Referenct'ng the Jtrly 21, 2004 Attempted Rt])oj]" (11/1 0-26/04)

239. On November 10, 2004, at approximately 2:59 p.m., JONES called Officer E
(J ones Tel. #5626). JONES called Officer E after learning that he had received a reassignment,
telling Officer E, “You finally fooled the motherfuckers and got into narcotics and you won’t hit
your man, huh?” Officer E replied, “l’m not going to narcotics, l’m going to gang intelligence.”
JONES stated “Yeah, ‘cause you gonna need to call me anyway to learn some gang shit.”
JONES and Officer E laughed. The conversation continued regarding Officer E’s reassignment,
with JONES telling Officer E, “you gonna be all good with that shit. l wish 1 could get over
thereto that motherfucker,” meaning that JONES wished he too would get reassigned to gang
intelligence Officer E replied, “Hold on, it’s gang intelligence, not gang members.” Officer E
and JONES both laughed, and JONES responded, “Who better to have the intelligence know
what l’m saying, shit?”

November 13, 2004

240. in summary, on November 13, 2004, JONES communicated with two drug

dealers, JAMES WALKER and lndividual F, regarding two separate ripoffs that each were

planning for JONES. As illustrated below, during a call on November 13, 2004, WALKER

provided the details to JONES of his plan to arrange a drug deal so that JONES could ripoff the

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drug courier. Near the conclusion of their call, JONES told WALKER “let’s go.” Within
approximately 15 minutes of completing this call with WALKER, J`ONES contacted several
CPD officers over J ones Telephone "- including COREY FLAGG, DAREK HAYNES, and
EURAL BLACK h seeking to enlist their assistance in the robbery.

241. On November 13, 2004, at approximately 10:09 a.m., JONES received a call from
lndividual F (J ones Tel. #5 8?3). During that conversation, lndividual F asked JONES if he
would still be working at 3 p.m. JONES then asked lndividual F what was he talking about, to
which lndividual F replied, “Is this a good phone for me to talk on?,” leading me to believe that
lndividual F planned on discussing criminal activities with JONES and that he was concerned
about talking about it over the telephone JONES responded, “hell no,” but asked lndividual F to
give him a “demonstration” and asked “what are we talking about?” individual F said that “it has
to be an interception,” which l understand to be car stop by JONES or one of his corrupt CPD
associates. lndividual F then clarified that “it was supposed to be four of the whole things,” to
which JONES responded, “Okay, that's what 1 am talking about.” individual F went onto tell
JONES that there was going to be a drug transaction taking place and that his people were
providing the money for the drug deal. JONES stated, “my people ain’t hcre, but, l might have to
call some more motherfuckers.” l believe that in this call, lndividual F sought JONES’s help in
robbing a drug dealer of four kilograms of cocaine (“four of the whole things”) through a street
stop (an “interception”) by corrupt law enforcement officers who would make the stop look like
legitimate police activity. When JONES said he that his “people ain’t herc,” and that he might
have to “call some more motherfuckers,” l believe that JONES was referring to the fact that his

primary accomplice in such criminal activity (FLAGG) was not available, and that he would have

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to call some other corrupt police officers to see if they wanted to participate in the
robbery/extortion of four kilos of cocaine

242. ln several telephone calls intercepted over Walker Telephone on November 12
and 13, 2004, it appeared that WALKER, WILSON, and other individuals were attempting to set
up a drug deal, possibly for multiple pounds of marijuana ln one of these calls, at approximately
2:51 p.m., WALKER spoke with one of the individuals trying to set up the deal (individual G)
(Walker Tel. #67l5). fn that call, WALKER and individual G discussed the fact that WILSON
had told WALKER his supplier won’t “run for one.” WALKER was upset and told lndividual G
he did not ask WILSON how many his supplier would come with because WALKER would
“take them.” WALKER then said, “what the fuck do you want to give a motherfuckcr a picture
for, but then don’t want to do one,” which I understand to mean that WALKER had received a
wmmem“mmmejdhmnwdmmmbmdmmmwdmsmmhmdmnummnwmumdoamw
pound deal. WALKER and lndividual G discussed WALKER telling WILSON “bring five and
then jack ‘em,” meaning that they should order live pounds of marijuana and then steal them
(“jack ‘em”) rather then paying for them. WALKER then said he was going to ca11 WILSON and
tell him “six,” so that everyone “grab two a piece . . .you get two, your man get two, l get two,
fuck it, and then your man still got his bread.” l understand WALKER to have told lndividual G
that WALKER would order six pounds of marij uana, which they would steal, which would result
in WALKER, individual G, and lndividual G’s drug customer each receiving two pounds of
marijuana, as well as lndividual G’s customer being able to keep his money (“bread”).
WALKER then said “l’m about to call him (WILSON) back and l’m gonna tell him the

motherfuckcr (the marijuana customer) want a ticket like 950, but hc’ll do six (buy six pounds) if

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he can do 950 (scll it for $950 a pound),” which would be a “believable” scenario.

243. A couple of minutes after talking with lndividual G, at about 2:54 p.m.,
WALKER called WILSON (Walker Tel. #6716) and ordered up six pounds of marijuana and
tried to bargain for a lower price During their conversation, WALKER and WlLSON discussed
how many pounds of marijuana WlLSON’s supplier “would run for.” WALKER told WlLSON
he had another “cat” (customer) that wanted “six” (pounds of marijuana) if the ticket (price) was
“better.” WALKER told WILSON this person wanted “7'50, 8,” referring to $750 or 3800 per
pound of marijuana WlLSON told WALKER he would try and “talk him down to 8.”

244. At about 2:57 p.m., WALKER called JONES (Jones Tel. #5911 & Walker Tel.
#6718). WALKER asked J'ONES, “What time you getting of .” and JONES said “right now.”
WALKER then told JONES that he was about to “pull [the] old double cross” because the “old
man” (WILSON) had “pissed him off,” and WALKER proceeded to explain to JONES that he
wanted to rob WILSON’s drug supplier with JONES’s hclp. WALKER told JONES that
WILSON had an “Esse” (a Mexican individual) with some L"nice looking gorilla side” (high
quality marijuana), but that this individual did not want to deliver only “one" pound of marijuana
to WALKER. WALKER then told JONES how he was planning a robbery and wanted to have
the supplier meet with WALKER’s customer (Individual G). WALKER explained that
lndividual G would tell the supplier he did not want the marijuana, and when the supplier left,
“we gonna do what we do.” WALKER told JONES he “cuts everybody out,” and JONES replied
“its me and you.” WALKER explained that the supplier would leave and "it’s a done deal . . . its
(the drugs) got to get took.” JONES replied “let’s go.”

245. At the end of the prior conversation with JONES, WALKER received an

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incoming call from individual G (Walker Tel. #6720). WALKER and lndividual G discussed the
robbery, where it would occur, and how they would take all “six” (pounds of marijuana) so
everybody gets a “deuce.” WALKER again relayed how angry he was that WlLSON and his
supplier did not want to come for the drug deal if it only involved one pound of marijuana

246. Within five minutes of JONES’s conversation with WALKER, at approximately
3:00 p.m., JONES called Officer D (Jones Tel. #5912). JONES explained the ripoff plan to
Officer D, saying “real simple, same little move,” referring to the officers conducting a car stop
in which the officers would take the drugs and/or money for themselves rather than logging it
into evidence Officer D asked JONES when this ripoff was going to take place; JONES stated
that it might happen in the next hour, and if so he’ll have to cut Officer D out and call Officer B.
JONES continued that if it was later than the next hour, JONES would call Officer D, who
stated, “just call.” Within the next two minutes, JONES tried to contact Officer 13 (Jones Tel.
#5913, 5914). fn call #5914, which took place at approximately 3:02 p.m., JONES asked Officer
B if he was working, and Officer B responded, “no, we off`.” JONES said that he needed to see
who was working, and that he would call Officer B back later.

247. JONES then took an incoming call from WALKER, which took place at
approximately 3:02 p.m. (.l ones Tel. #5915 & Walker Tel. #6721). JONES asked, “ls it going
down?” WALKER replied that he was waiting on “old dude” (WILSON) to call him back.
WALKER told JONES he wanted to meet the supplier at the “wash” (WlLSON’s car wash), and
the two then discussed the specifics of the robbery and how lndividual G’s customer would have
the “bread” (money). JONES asked WALKER why he called him so late and told him, “l got to

make a call, man, l got to see if my buddies and them are working.”

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248. After getting off the telephone with WALKER, JONES called DAREK HAYNES
(J ones Tel. #5916). JONES asked HAYNES if he was at work. When HAYNES said he was not
at work, JONES became upset. HAYNES then stated, “don’t tell me that.” l believe that in this
call, JONES became upset when HAYNES was not at work because JONES would not have
been able to enlist HAYNES (or utilize HAYNES’s police car) to conduct the traffic stop drug
ripoff. I further believe HAYNES responded “don’t tell me that” because HAYNES knew
JONES was calling in order to solicit him to commit a robbery/extortion JONES told
HAYNES, “I got something going right now, man,” to which HAYNES replied, “Street stop?”
After JONES indicated that it was a “simple street stop,” HAYNES became upset, saying,
“Darnnl Simple street stop.” HAYNES went onto say, “l was trying to get you before my
furlough,” which l understand to mean that HAYNES wanted to commit a robbery/extortion with
JONES ~ like the one they attempted in September 2004 - before HAYNES went on vacation.
JONES then told HAYNES, “lt's a hot four piece dinner, too man.” HAYNES then asked, “Four
piece dinner?,” to which JONES responded, “yeah, four of ‘em," refen'ing to four kilograms of
cocaine, which were the expected proceeds of the ripoff. l further believe that in this call,
.lONES may have been confusing thc potential drug ripoff being arranged by lndividual F that
JONES and hidividual F discussed earlier that day (which ripoff was to be for four kilograms of
cocaine), with the drug ripoff being organized by WALKER.

249. After getting off the telephone with HAYNES, at about 3106 p.m., JONES called
BLACK (J ones Tel. #591'/'). JONES’s call went to voicemail. That voicemail message indicated
that “EURAL BLACK” was not available JONES then tried to contact Officer E (.l ones Tel.

#5918), which call also went to voicemail.

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250. At approximately 3:07 p.m., JONES called FLAGG (j ones Tel. #5919), telling
FLAGG, “l got something right now, man.” FLAGG asked JONES, “What is it?” JONES
responded, “Three of ‘em, l, 2, 3,” and told FLAGG he would call him back.

251. At about 3113 p.m., JONES called Officer F (Jones Tel. #5925). lONES told
Officer F, “l need you.” Officer F asked, “What's up?” JONES responded, “man, you know
what’s up,” prompting Officer F to laugh, which indicates to me that Officer F knew JONES
needed help with a drug ripoff or some other illegal activity. Officer F then asked JONES,
“What you got going on?” JONES then told Officer F, “you and your man can have at least an
eight ball apiece,” which I believe to be a reference to the profit that Officer F that and his
partner (Officer D) would each receive from the robbery/extortion Officer F then asked JONES
where the car stop was going to take place JONES stated, “Remember the last dcmo? Coming
from the wash?," and Officer F responded that he did. JONES then said, “it will be coming from
the wash, simple little stop, wham, wham.” l understand that in this portion ofthe conversation,
JONES is referring to a prior ripoff attempt at WlLSON’s car wash. JONES also described the
plan for the ripoff as a “simple stop, ride in, gone.” Officer F asked if the stop would take place
“in the wood,” which l believe to be a reference to Englewood, the CPD District (and
ncighborhood) to which Officer F is assigned JONES indicated that it would be in Englewood if
the victim came from that direction, but that the plan was for the victim to be at “the wash first”
and then “ride of ” with Officer F following the victim. Officer F said “okay,” and indicated that
he started work at “six.” JONES asked if Officer F needed backup, and Officer 13 said to call
Officer D. JONES replied that he already called Officer D, and Officer F then said to call them

at 6:00.

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252. After speaking with Officer F, JONES called Officer D (Jones Tel. #5926).
JONES asked Officer D if he was ready, and Officer D said he wanted to know the “dilly~o.”
J`ONES replied, “l already told you what it is,” and further said “you guys will probably get about
eight stacks ($8,000) apiece.” JONES further stated, “lt’s only a trey piece Like l, 2, 3,”
referring to kilos of cocaine JONES then reiterated the profit from the robbery: “eight bucks in
your pocket, pretty sure you can use that.” JONES went on to tell Officer D how the traffic stop
should go down, and indicated that it would be near 85th and Ashland (which is the location of
WlLSON’s car wash). When Officer D asked il`the robbery victim would be by himself, JONES
told Officer D that the victim might be by himself of with another person. J ONES told Officer D
that he was counting on the two of them (Officers D and F), and asked who was riding with them
that night, mentioning “Eural” (BLACK) specifically Officer D replied that he did not know.
Towards the end of the call, Officer D asked if JONES had already talked with Officer F, and
JONES assured him (Officer D) that the two of them (JONES and Officer F) had spoken

253. At approximately 3:55 p.m., JONES received a call from EURAL BLACK (J ones
Tel. #5928), presumably returning JONES’s earlier voicemail message _lOl\lES asked BLACK
if he was working, and BLACK responded that he was working in addition, a police radio could
be heard in the background JONES asked BLACK who BLACK was working with, and then
asked BLACK what time he got off work. BLACK said he got off at 6:00. JONES then stated,
“l might have something for you” and BLACK rcplied, “call me man.” JONES told BLACK to
stay close and BLACK asked JONES where he wanted him (BLACK) to be JONES then told
BLACK that the ripoff is “going to be over there, where we were last time, by the carwash, by

85th and Ashland.” BLACK responded, “Okay, okay, l am going to head that way then.” In this

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call, lbelieve that JONES was asking BLACK to participate in the car»stop ripoff that .lONES
was planning, and that thc JONES`s reference to the “car wash,” where they were “last time” to
be a reference to the attempted robbery/extortion of five kilograms of cocaine from by JONES,
FLAGG, BLACK, WlLSON and others on July 21, 2004.

254. About one minute later, at approximately 3:56 p.m., JONES called WALKER
(J ones Tel. #5930 & Walker Tel. #67'66), and told WALKER, “We ready..” WALKER told
JONES he was waiting for “dude” to call him back, and informed JONES that the customer with
the “paper” was ready and “dude” (WILSON) was waiting on thc “Esse” (the Mexican drug
dealer) to call him back. JONES said, “That’s one two, three,” and continued saying “you get
yours, l get mine,” to which WALKER responded, “n`ght, l, 2, 3.”

255. After JONES ended his call with WALKER, he called BLACK (J ones Tel.
#5931). JONES told BLACK, “we waiting for them to call back. He ain’t back yet. l’mjust
putting you on alert, it’s real simple too.” BLACK asked JONES if he should head that way, and
JONES said “ifyou want to come hollar at rne about it real quick, it’s all good.” JONES told
BLACK he was in a barber shop parking lot across the street from Reeses, and BLACK said he
was on his way.

256. At approximately 4: 16 p.m., surveillance observed an unmarked CPD Crown
Victoria bearing lllinois license plate l\/fl 14781 travel eastbound on 87"" Street, turn northbound
on Ashland, and park in front of Maxwell’s restaurant, which was located in the vicinity of
WlLSON’s carwash. A subsequent review of CPD records indicated that this unmarked squad
car was assigned to BLACK on November 13, 2004. Two black male occupants_, one believed to

be BL-ACK, were observed in this police vehicle

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257. At approximately 5:27 p.m. that same night, November 13, 2004, FLAGG called
JONES (Jones Tel. #5960). FLAGG asked JONES his location and JONES replied “87**.”
FLAGG asked .lONES, in part, “What you doin’ over there?”, to which JONES replied “l’m
waiting for something right now.” FLAGG asked JONES how long he would be waiting and
further asked if “something about to happen.” JONES replied “yeah” and told FLAGG he would
call him back, At approximately 6:07 p.m., surveillance observed JONES drive from the vicinity
of Reese’s bar located near 87th Street and Honore towards Ashland Avenue, turning north on
Ashland Avenue from 87th Street.

258. Following the above conversations and events, WALKER and JONES and
WALKER and WILSON engaged in additional intercepted telephone calls during which they
discussed the drug deal and ripoff. Durin g these calls, it is apparent that WILSON asked
WALKER to come meet his supplier, and the two subsequently decided to attempt to make the
drug deal happen the following day before noon.

259. At approximately 6:58 p.m., WALKER called JONES (Jones Tel. #5981 &
Walker Tel. #6906). During their conversation, WALKER told JONES that the deal was going
to happen the following day. WALKER asked “Who’s working tomorrow, you?” .TONES said,
“Yea, FLAGG on vacation man, but uh, l’ll figure something out.” JONES told WALKER that
the “old man” (WILSON) might not “fuck with you” because WlLSON had told JONES that he
suspected that WALKER was going to “doublc cross” him during an unrelated incident.
WALKER told JONES, “l am.” JONES and WALKER then discussed the planned ripofl`.
WALKER told JC)NES that his customer would purchase “two” and leave When the supplier

left and JONES “picked him off” he would have “cash” and the “othcr four” on him. JONES

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replied, in part, “l though it was going to be a trey ball, the plot thickens.” WALKER and
JONES then discussed the robbery and the split of the money and drugs and WALKER told
JONES that WILSON was unaware of the plan. JONES and WALKER then described how they
would split the money and drugs, during which it became apparent that JONES believed
WALKER’s ripoff opportunity involved cocaine rather than marijuana WALKER told JONES
that he (WALKER) didn’t care if the police kept “16, 17 bucks” (31600-31700). JONES
responded, “for two of them?”, to which WALKER replied that he always gets them for “85 0”
($850). JONES asked if WALKER’s man was going to grab two for “thirty-two” ($32,000).
WALKER said, “no” it would be “16, 1700" ($1,600-51,700). JONES sounded confused and
said, “wait, he grabbin’ two books (two kilos of cocaine), at seventeen a whop (Sl7,000 each),
that’s thirty-four ($34,000).” WALKER said no, “this the other thing, this ain’t that lick, this thc
other thing.” JONES said, in part, “shit, what the fuck, l think you talking about books (kilos of
cocaine), l just counted up a fifty-ball apiece shit.” WALKER told l`ONES that “dude”
(WILSON) is ‘°spooked” to “bring that shit,” and further told JONES this was something for
JONES “to do one of his nieves with.” WALKER and JONES then discussed that the drug deal
and ripoff was for “gorilla,” referring to pounds of marij uana. JONES told WALKER to let him
know. WALKER told JONES the deal would occur the following morning

260. On November 18, 2004 at approximately 8:16 p.m., JONES called BLACK
(J ones Tel. #6389), and asked him, if he was “on tomon'ow?” BLACK replied, “we off
tomorrow.” JONES rcsponded, “oh shit” and asked, “when you go back?” BLACK told JONES
he got back on “Saturday,” which JONES repeated JONES then said he would check and see

then he’ll hit BLACK, and BLACK told JONES to definitely call him and let him know. As the

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call began to end, BLACK told JONES, "hey, hey . . . call me tomorrow cause l got somethingl
want to get rid of too, l got something right now.” JONES asked if it is what JONES had, and
BLACK replied, “no it ain’t what you had . . . what l got is a . . . it’s already hooked up.”
JONES asked BLACK, “in what amount though?", to which BLACK replied, “l don’t know l got
like . . . I’ll talk to ya in person.” BLACK then told JONES to call him the next day, because
BLACK had some “right now” that he (BLACK) wanted to get rid of. JONES said, “Alright,
cool.” l understand that in this call, BLACK told JONES that he (BLACK) had an amount of
drugs that he was trying to sell and that he (BLACK) wanted JONES to help him do so.

261. On November 26, 2004, at approximately 3:20 p.m., JONES called BLACK
(Jones Tel. #6934). JONES asked if BLACK was at work, and BLACK responded, “furlongh
stud.” JONES then asked BLACK, “What’s up with that thing you say you got though?”
BLACK responded, “l had to find another way to move it . . .” JONES then asked BLACK if he
got rid of it (the drugs) and BLACK responded, “yeah, it was just two sacks, that was all.”
During this call, 1 believe that JONES and BLACK are referring to the drugs BLACK was trying
to get rid of in call #6389 (J ones Tel.`). BLACK informed JONES that he was able to get rid of
the drugs, which amounted to only “two sacks.” BLACK also told .lONES that he was looking
for JONES before he (BLACK) went on furlough, but he guessed nothing came up. l believe that
in this portion of the call, BLACK told JONES he was looking for JONES before he (BLACK)
went on vacation because BLACK wanted to participate in a drug ripoff, which BLACK could
more easily do while on duty as a police officer. BLACK later told JONES, “hook me up
something for Christrnas,” prompting .l ONES to laugh and tell BLACK that he would “hit him”

(call), meaning that JONES would call BLACK if`a ripoff opportunity came up before Christmas.

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J. Conversalions Between JONES and WALKER Afr.‘er WALKER is Tipped-Off
T hat He is Ber'ng 111 vestigated

262. On November 29, 2004, lndividual l was arrested by the FBl and subsequently
interviewed lndividual 1 agreed to cooperate with the FBl and make consensual recordings
against WALKER and others However, conversations intercepted over Walker Telephone and
J ones Telephone beginning that same day, including conversations intercepted almost
immediately after lndividual I’s arrest, revealed that individual l warned WALKER of the
investigation against him (WALKER), including the fact that lndividual l was going to be
approaching WALKER wearing a recording device

263. On November 29, 2004, at approximately 7:00 p.m., lndividual l met with law
enforcement agents in order to be equipped with a recording device for a meeting with
WALKER that night. lndividual 1 had been instructed to engage WALKER in conversations
about drug robberies After making that recording, individual l again met with law enforcement
agents and stated that he had met with WALKER, but that WALKER was not interested in
conducting any drug robberies

264. On November 29, 2004, at approximately 7:28 pm, JONES called WALKER
(J ones Tel. #7261 & Walker Tel. 10177). WALKER told JONES “swing around here on Justine,
l gotta heller at you real quick.” After JONES told WALKER that he was not in the area,
WALKER stated, “It’s like 911 holler. But, you can’t say a fucking thing, man, l mean to no
one.”

265. On November 29, 2004, at approximately 8:20 p.m., individual l called `WALKER
(Walker Tel. #10193), telling WALKER that he (lndividual l) was calling him from a payphone.

WALKER asked lndividual 1, “Problems?”, to which lndividual lreplied, “Ycah.” WALKER

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then asked, “How long ago?”, to which individual I stated, “today.” WALKER also asked if the
FBl was “on my line,” and later asked lndividual l if “You got that thing off you?”, referring to
the recording device that lndividual l was wearing when he met with WALKER in person.
lndividual I responded, “yeah, yeah, l’m cool.” The two then agreed to talk at an unknown
location, and individual l ended the conversation telling WALKER, “watch your tracks.” Within
a few minutes, WALKER called JONES (Jones Tel. #7274 & Walker Tel. #10195). WALKER
told JONES, “He just called mc from a payphone, loe l-le said they just came at him today.”
WALKER further told JONES that he was going to meet with individual I, find out where the
investigation against them stands, and then call JONES at a later time

266. At about 10:27 p.m. that night, WALKER called JONES (Jones Tel. #7279 &
Walker Tel. #10206). In this call, WALKER informed JONES about how lndividual l
approached him. At this point, both WALKER and JONES knew that lndividual l was
cooperating with the government and that lndividual f was wearing a wire WALKER told
JONES, “l just got up with dude,” referring to lndividual I, and then WALKER proceeded to tell
JONES how individual I approached him: “When I got in the truck, let me tell you what he
(lndividual l) said to me When 1 got in the truck he said, there’s a nigger that wants two things,
he got the cash, 340,000 cash. l\/lan, let’s get up on it and we can split the cash.” WALKER then
told JONES to “think about that. What that sound like‘? Do that sound like he want me to do
some business or you want me to take something?,” telling JONES that individual l was not
trying to set up WALKER by purchasing drugs from him, but rather with by having WALKER
participate in the robbery of a drug dealer. WALKER then explained to JONES his

understanding that the FBl must be trying this undercover scenario because the FBI was trying to

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get to .lONES and WALKBR throttin lndividual I: “Cuz, they are trying to get at youl” JONES
responded, “Straight up?”, and WALKER stated, “ljust got through meeting with him, ri ght.
We just went way out somewhere and met in a lounge They asked about you.” Later in the
conversation, JONES asked WALKER, “What he (lndividual l) say they (the FBI) said about
me?” WALKER responded, “Thcy asked about you, they asked what do he know about you”
WALKER further stated to JONES, “they asked about you specifically because you are

associated with me.”

FURTHER AFFlANT SAYETH NOT.

  

 

oshua Skule, Special Agent
Federal Bureau of investigation

Sworn before this 26th day
of January, 2005

VVMAF?/Mac

l\/fichael T. Mason
UNITED STATES MAGISTRATE .lUDGE

-lll-

